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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                          Chapter 11

        96 Wythe Acquisition LLC,                              Case No. 21-22108

                                    Debtor.                    Local Rule Statement
--------------------------------------------------------x
STATE OF NEW YORK                   )
                                    ) ss:
COUNTY OF NEW YORK )

                 David Goldwasser, as Chief Restructuring Officer of 96 Wythe Acquisition LLC

(the “Debtor” or “Borrower”), deposes and says under penalty of perjury, as follows:

                 I submit this declaration in accordance with Local Bankruptcy Rule 1007-2 in

support of the Debtor’s filing of a voluntary petition under Chapter 11 of Title 11 of the United

States Code (the “Bankruptcy Code”).

                 1.       On or about February 22, 2021, I was appointed Chief Restructuring

Officer (“CRO”) reporting to Michael Lichtenstein and Toby Moscovits, who control the Debtor

by and through the Debtor’s parent entities. I specialize in business restructuring, bankruptcy

and litigation planning, including Chapter 11 reorganization, bankruptcy claims, tax liens, and

rescue capital for distressed commercial real estate. I have over 20 years of litigation and crisis

management experience and have appeared on behalf of debtors in over thirty bankruptcy cases

in the Southern and Eastern Districts of New York.

                 2.       On February 23, 2021, the Debtor filed a Chapter 11 petition under Title

11 of the United States Code, 11 U.S.C. 101 et seq. (the “Bankruptcy Code”).
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                3.     The Debtor owns and operates the Williamsburg Hotel (the “Hotel”)

located at 96 Wythe Avenue, Brooklyn, New York, (the “Property”). The Property is a ten story,

147 room hotel with a rooftop pool, a bar and restaurant and a separate, elevated and enclosed

bar that sits above the pool referred to as the Water Tower Bar. The Debtor has approximately

80 employees.

                4.     On December 13, 2017, the Debtor borrowed $68 million (the “Loan”)

from Benefit Street Operating Partnership, L.P. under a loan agreement (“Loan Agreement”) to

construct the Hotel. The Loan was subsequently assigned to BSPRT 2018-FL3 Issuer, Ltd. (the

“Lender” or the “Mortgagee”).

                5.     The Debtor’s financial problems pre-date the COVID-19 pandemic. They

arise from the Mortgagee’s misconduct in: (i) denying that the Debtor had completed

construction; (ii) Lender’s consequent demands for additional interest as a result thereof; and (iii)

Lender’s ultimate filing of a foreclosure complaint. Lender’s actions obstructed the Debtor’s

ability to refinance the Loan.

                6.     Under the Loan Agreement, the Debtor had a May 31, 2018 deadline to

complete construction (the “Completion Date”), failing which the Lender would be entitled to a

0.5% increase in the contract interest rate, which would reset once those conditions were

satisfied.

                7.     The maturity date was June 7, 2019 (the “Maturity Date”). The Debtor

had the option “to extend the term of the Loan beyond the initial Maturity Date for two (2)

successive terms (the ‘Extension Option’) of six (6) months each (each, an ‘Extension Period’) to



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(i) December 9, 2019 if the first Extension Option was exercised and (ii) June 9, 2020 if the

second Extension Option was exercised.

                 8.    At the closing of the Loan in December 2017, $1,651,000 was placed in a

“Business Plan Reserve Account,” to ensure adequate funding of the Debtor’s contractors,

materials and services in the first instance. Upon the Debtor’s certification of completion of such

work, lien releases from all contractors and subcontractors, and Lender’s construction site visit,

the Lender was obligated to “reimburse” the Debtor from the Business Plan Reserve Account.

                 9.    Work proceeded without controversy or incident, and the Debtor achieved

“Completion” of the “Business Plan Work” as defined in the Loan Agreement by the end of June

2018. The was open for business and operating with all amenities. Guestrooms, pool and related

facilities, and the food and beverage outlets were all operational.

                 10.   The Debtor notified Lender that it satisfied the Operating Condition by the

end of June 2018, thereby terminating the 0.5% Rate Increase Event.

                 11.   Lender disagreed with Borrower’s notification and claimed instead that

the Operating Condition had not yet been satisfied. The Lender refused to terminate the 0.5%

interest rate increase. This 0.5% increase constituted, on average, an additional $29,000.00 of

interest per month, wrongfully running in favor of Lender and against the Debtor as of, at least,

June 30, 2018.

                 12.   There was no risk of non-payment of this additional interest in the near

term as the Lender also held two months of interest reserve under the Loan Agreement. But the

parties would soon be at odds when, as turned out to be the case, the Lender paid itself more

interest than was actually owed—by $29,000.00 per month on average—and demanded that the

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Debtor make up the difference by depositing an extra $29,000.00 of fresh funds into the Interest

Reserve Account to keep the required two months of interest on deposit at all times.

               13.    On a without prejudice basis, in an effort to maintain an amicable

relationship with Lender and move the Project forward, the Debtor paid the excess interest rate

for the months of June 2018 and July 2018, and topped up the interest reserve accordingly.

               14.    By August 2018, however, Borrower had enough. Lender continued to

refuse to accept that the Operating Condition was satisfied. Indeed, the Project had become fully

operational, and yet Lender continued to saddle Borrower with the additional 0.5% interest rate

averaging $29,000.00 per month. Accordingly, Borrower refused to continue to pay the higher

interest rate. Instead, Borrower made monthly payments from August 2018 through November

2018 sufficient to fund the Interest Reserve Account in accordance with the Loan Agreement at

the agreed interest rate level, without the unauthorized 0.5% surcharge that had been assessed by

Lender.

               15.    In violation of the Loan Agreement, Lender nevertheless continued paying

itself at the higher interest rate from the Interest Reserve Account. Between July 2018 and

December 2018, Lender pocketed approximately $173,777.78 of unauthorized additional interest

from Borrower, based on Lender’s refusal to acknowledge that the Operating Condition was

satisfied.

               16.    Lender’s actions caused the Interest Reserve Account to fall below the

agreed two months of interest payable from the Debtor to Lender. Naturally, the Lender had the

upper hand. It could declare the Debtor in default and demand a cure. That demand would be

made not only to the Debtor, but WH Mezz Lender, LLC, the mezzanine lender (the “Mezz

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Lender”) who had made a $13,000,000 loan to the Debtor’s parent company, secured by the

membership interests in the Debtor.

               17.     On November 28, 2018, therefore, in a further attempt to bring this matter

to resolution, Debtor requested another Property site inspection in order to further confirm that

the construction work was completed and the Operating Condition was satisfied. Such an

inspection would also trigger the release of a further construction draw from the Business Plan

Reserve Account in the amount of $300,000.00. As explained above, the $300,000.00

construction draw would have simply shuffled Borrower’s own money to the Interest Reserve

Account, which Borrower also funded. In other words, Borrower was paying four times—first to

fund the construction reserves, second for the construction itself, third for the interest reserve,

and fourth to pay monthly interest.

               18.     Instead of scheduling the site inspection within two to three days as had

customarily occurred, Lender took two weeks to schedule the inspection despite Borrower

furnishing sufficient documentation to support the inspection and making countless attempts to

expedite the process. Nonetheless, Lender refused to schedule the inspection until December 11,

2018.

               19.     On information and belief, Lender was in no hurry to schedule the

Property site inspection since Lender knew that if it did not release the construction draw from

the Business Plan Reserve Account until after December 7, 2018, which was the due date for

Borrower’s interest payment, Borrower might have considerable difficulty topping up the

Interest Reserve Account by its December 2018 deadline.




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               20.    Nonetheless, Borrower paid Lender over $300,000.00 between November

28 and December 10, 2018, and, with the rate cap provider, Lender was paid over $319,512.86

during this time frame.

               21.    Borrower, aware of its impending December 2018 payment due date and

the delayed property site inspection, made numerous requests to Lender in an effort to reach an

agreement regarding the release of the $300,000.00 in the Business Plan Reserve Account.

               22.    Specifically, Borrower requested that the $300,000.00 in the Business Plan

Reserve Account be transferred to the Interest Reserve Account until the delayed inspection

could be completed. As both parties well knew, the requested transfer of Borrower’s money

from the Business Plan Reserve Account to the Interest Reserve Account would have cost

Lender nothing but would have enabled Borrower to make its December 2018 payment without a

technical Event of Default under the Loan Documents.

               23.    Lender was not interested. Indeed, its response revealed its true motives.

Lender agreed to Borrower’s request to transfer $300,000.00 from the Business Plan Reserve

Account to the Interest Reserve Account, but only on the condition that Borrower acknowledge

that the Business Plan Work had been completed, entitling the Lender to the higher interest rate

since June 2018.

               24.    At $29,000.00 per month of unwarranted interest from July 2018, the

requested concession would likely have amounted to a $348,000 cost to simply move

$300,000.00 of Borrower’s money from one reserve account to the other. The Debtor refused.




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               25.     As a result, the Debtor did not make the December 7, 2018 payment, in

the belief that the needed funds would be in hand shortly after the December 11, 2018

construction site visit and would soon be paid from the Business Plan Reserve Account.

               26.     On December 10, 2018—one day before Borrower’s scheduled property

site inspection—Borrower received a notice of default letter from Lender for Borrower’s failure

to make the December 2018 payment. The default letter notified Borrower that various

monetary defaults needed to be cured but did not specify the total amount it claimed to be due

with per diem amounts accruing. The Debtor calculated $1,239,365.45.

               27.     Pursuant to an intercreditor agreement (“Intercreditor Agreement”), Mezz

Lender also received notice of Borrower’s purported default and was given the opportunity to

cure such default.

               28.     In retrospect, Lender’s vagueness on the asserted cure amount intended to

obstruct curing the putative “default.”

               29.     On December 19, 2018, Mezz Lender timely paid the $1,239,365.45 cure

amount to Lender via wire transfer (the “First Mezz Lender Cure Payment”). Of the sum paid as

a cure amount, Borrower contributed $240,000.00.

               30.     The Debtor believes that the First Mezz Lender Cure Payment made

Lender whole and cured the pending default in its entirety. Lender never informed the Debtor it

was claiming an additional $94,000.00 for default interest. Had the Lender told the Debtor, the

Debtor could have, and would have, paid the default interest on December 19, 2018. Indeed,

Borrower had well over $94,000.00 in the Interest Reserve Account.



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               31.     Instead, Lender hid the fact that $94,000.00 of default interest was owed,

not once disclosing the owed default interest to Borrower despite the numerous communications

between Lender and Borrower regarding the default. Lender’s tactic was clear. Lender not only

wanted to prevent Borrower from curing the alleged default, Lender also wanted the $94,000.00

to compound and double in amount.

               32.     Thereafter, the Lender sent monthly default letters and the Debtors and

Mezz Lender paid the cure the amounts due plus payment of the unwarranted higher interest rate

of 0.5% even though the Hotel was fully operational.

               33.     On June 3, 2019, Borrower and Lender entered into negotiations in an

attempt to the resolve Borrower’s alleged defaults under the Loan Documents.

               34.     Borrower sought and obtained a term sheet to refinance with a new lender

at a low interest rate. But based on the Loan default notices, the new lender advised that it could

not refinance the Loan because it could not lend money to a borrower that had a default under its

loan terms.

               35.     On June 5, 2019, Borrower received a payoff letter from Lender good

through June 7, 2019. On June 7, 2019, the Lender asserted a maturity default.

               36.     Due to Lender’s sequential, contrived and overlapping default notices,

Borrower was never given the ability to exercise its option under the Loan Agreement to extend

the Maturity Date prior to receiving the June 7, 2019 default letter.

               37.     The lender commenced a foreclosure action in New York County,

Supreme Court (the “Foreclosure Action”) four days later.


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               38.     Constantino Sagonas, was appointed temporary receiver (“Receiver”) for

the Hotel in the Foreclosure Action. The Receiver is in poor health and a motion was made in

the Foreclosure Action to relieve him of control. Upon the filing of the bankruptcy case, the

Receiver has agreed to cooperate in transferring control of the accounts he maintained to the

Debtor. The Debtor’s day to day operations are managed by a hotel manager which has

managed the business throughout Mr. Sagonas’ appointment, as directed by the Court in the

Foreclosure Action. The Debtor intends to maintain the status quo with no change in day-to-day

management.

               39.     The COVID-19 pandemic and the attendant travel restrictions and

quarantine requirements beginning in March 2020 had an immediate impact on the hospitality

industry as a whole and caused the Hotel to shut down operations entirely for a period of time.

The Debtor has reopened and employs 80 workers.

               40.     No pre-petition committee was organized prior to the Order for relief.

               41.     A summary of the Debtor's’ assets and liabilities is forth on the Debtor’s

summary of schedules.

               42.     The names and addresses of the Debtor’s twenty largest unsecured

creditors, has been filed with the Petition.

               43.     All suits or proceedings in which the Debtor is named as a party will be

listed in the Debtor’s Statement of Financial Affairs to be filed.

               44.     The estimated operating expenses of the Debtors for the next thirty days

is attached the Debtors’ Cash Collateral Motion.


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Dated: New York, New York
       February 25, 2021
                                      s/David Goldwasser, as Chief Restructuring Officer




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                                       UNITED STATES BANKRUPTCY COURT
                                                Southern DISTRICT OF New York



In Re. 96 Wythe Acquisition LLC                                     §                   Case No. 21-22108
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 06/30/2021                                                        Petition Date: 02/23/2021

Months Pending: 4                                                                         Industry Classification:    0   0   0   0

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ David Goldwasser                                                         David Goldwasser
Signature of Responsible Party                                               Printed Name of Responsible Party
07/15/2021
                                                                             3284 N 29th Court
Date
                                                                             Hollywood, FL 33020
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Debtor's Name 96 Wythe Acquisition LLC                                                            Case No. 21-22108


Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                         $710,237
b.   Total receipts (net of transfers between accounts)                                    $2,483,879                   $0
c.   Total disbursements (net of transfers between accounts)                               $1,568,092                   $0
d.   Cash balance end of month (a+b-c)                                                     $1,626,024
e.   Disbursements made by third party for the benefit of the estate                                 $0                 $0
f.   Total disbursements for quarterly fee calculation (c+e)                               $1,568,092                   $0
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                               $86,805
b.   Accounts receivable over 90 days outstanding (net of allowance)                                 $0
c.   Inventory       ( Book        Market      Other      (attach explanation))               $70,711
d    Total current assets                                                                  $1,821,477
e.   Total assets                                                                         $97,282,913
f.   Postpetition payables (excluding taxes)                                               $1,542,341
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                              $603,911
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                         $2,146,252
k.   Prepetition secured debt                                                             $83,517,770
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                                        $0
n.   Total liabilities (debt) (j+k+l+m)                                                   $85,664,022
o.   Ending equity/net worth (e-n)                                                        $11,618,891

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                 $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                 $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                 $0

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                      $2,089,877
b.   Cost of goods sold (inclusive of depreciation, if applicable)                           $958,919
c.   Gross profit (a-b)                                                                    $1,130,958
d.   Selling expenses                                                                         $85,046
e.   General and administrative expenses                                                     $279,776
f.   Other expenses                                                                          $203,093
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                                        $0
i.   Taxes (local, state, and federal)                                                               $0
j.   Reorganization items                                                                     $16,180
k.   Profit (loss)                                                                           $546,863                   $0


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Debtor's Name 96 Wythe Acquisition LLC                                                                          Case No. 21-22108

Part 5: Professional Fees and Expenses

                                                                                    Approved        Approved       Paid Current       Paid
                                                                                  Current Month    Cumulative         Month         Cumulative
a.       Debtor's professional fees & expenses (bankruptcy) Aggregate Total

         Itemized Breakdown by Firm
                Firm Name                          Role
         i
         ii

                                                                                    Approved        Approved       Paid Current       Paid
                                                                                  Current Month    Cumulative         Month         Cumulative
b.       Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

         Itemized Breakdown by Firm
                Firm Name                          Role
         i
         ii
c.       All professional fees and expenses (debtor & committees)

Part 6: Postpetition Taxes                                                                         Current Month              Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                                       $0                          $0
e.   Postpetition property taxes paid                                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)                  Yes        No
b.   Were any payments made outside the ordinary course of business                          Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                                     Yes        No
d.   Are you current on postpetition tax return filings?                                     Yes        No
e.   Are you current on postpetition estimated tax payments?                                 Yes        No
f.   Were all trust fund taxes remitted on a current basis?                                  Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                          Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by                     Yes        No      N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                                Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
                             Casualty/property insurance?                                    Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
                             General liability insurance?                                    Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                                 Yes        No


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k.      Has a disclosure statement been filed with the court?                             Yes          No
l.      Are you current with quarterly U.S. Trustee fees as                               Yes          No
        set forth under 28 U.S.C. § 1930?

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.


/s/ David Goldwasse                                                             David Goldwasser
Signature of Responsible Party                                                  Printed Name of Responsible Party

Manager                                                                         07/19/2021
Title                                                                           Date




UST Form 11-MOR (06/07/2021)                                                4
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                                                   Pg 5 ofPg  Detail
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                                    1103100 · TD DIP Operating Account...0935, Period Ending 06/30/2021

                          Type             Date           Num     Name             Description        Clr    Amount

Beginning Balance
           Cleared Transactions
               Checks and Payments - 55 items
                  Check                06/01/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        F&B
                                                                                     Debt Expense1884              -40.52
                  Check                06/01/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        Rooms
                                                                                     Debt Expense8889              -38.11
                  Check                06/02/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        F&B
                                                                                     Debt Expense1884             -182.11
                  Bill Pmt -Check      06/03/2021   ACH         FISERV MERCHANT
                                                                           A&G - CC
                                                                                 SERVICES
                                                                                    Processing
                                                                                            8889
                                                                                               Fees
                                                                                                 ROOMS         -22,293.17
                  Bill Pmt -Check      06/03/2021   ACH         FISERV MERCHANT
                                                                           A&G - CC
                                                                                 SERVICES
                                                                                    Processing
                                                                                            1884
                                                                                               Fees
                                                                                                 F&B            -8,328.11
                  Bill Pmt -Check      06/03/2021   ACH         FISERV MERCHANT
                                                                           A&G - CC
                                                                                 SERVICES
                                                                                    Processing
                                                                                            8889
                                                                                               Fees
                                                                                                 ROOMS          -1,677.04
                  Bill Pmt -Check      06/03/2021   ACH         FISERV MERCHANT
                                                                           A&G - CC
                                                                                 SERVICES
                                                                                    Processing
                                                                                            8889
                                                                                               Fees
                                                                                                 ROOMS            -841.85
                  Bill Pmt -Check      06/03/2021   ACH         FISERV MERCHANT
                                                                           A&G - CC
                                                                                 SERVICES
                                                                                    Processing
                                                                                            1884
                                                                                               Fees
                                                                                                 F&B              -691.47
                  Bill Pmt -Check      06/03/2021   ACH         FISERV MERCHANT
                                                                           A&G - CC
                                                                                 SERVICES
                                                                                    Processing
                                                                                            1884
                                                                                               Fees
                                                                                                 F&B              -485.67
                  Check                06/03/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        F&B
                                                                                     Debt Expense1884              -39.20
                  Check                06/07/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        Rooms
                                                                                     Debt Expense8889             -215.60
                  Bill Pmt -Check      06/09/2021   ACH         FIRST Ins (Pkg)
                                                                              Insurance
                                                                                '20-'21                       -18,495.84
                  Check                06/09/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        Rooms
                                                                                     Debt Expense8889             -351.13
                  Check                06/10/2021   ACH         FISERV MERCHANT
                                                                           A&G - CC
                                                                                 SERVICES
                                                                                    Processing
                                                                                            1884
                                                                                               Fees
                                                                                                 F&B                  -0.80
                  Check                06/14/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        F&B
                                                                                     Debt Expense1884             -129.99
                  Check                06/14/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        Rooms
                                                                                     Debt Expense8889              -33.76
                  Bill Pmt -Check      06/15/2021   ACH         Con Edison - 8RTL
                                                                              Utilities
                                                                                     (0200-8)                 -25,925.81
                  Bill Pmt -Check      06/15/2021   ACH         Con Edison - 6RTL
                                                                              Utilities
                                                                                     (0800-5)                  -3,235.00
                  Bill Pmt -Check      06/15/2021   ACH         Con Edison - 7RTL
                                                                              Utilities
                                                                                     (0900-3)                  -2,985.05
                  Bill Pmt -Check      06/15/2021   ACH         Con Edison - 2RTL
                                                                              Utilities
                                                                                     (0400-4)                    -736.08
                  Bill Pmt -Check      06/15/2021   ACH         Con Edison - 4RTL
                                                                              Utilities
                                                                                     (0600-9)                    -728.17
                  Check                06/17/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        F&B
                                                                                     Debt Expense1884             -103.08
                  Check                06/17/2021   ACH         FISERV MERCHANT
                                                                           A&G - CC
                                                                                 SERVICES
                                                                                    Processing
                                                                                            1884
                                                                                               Fees
                                                                                                 F&B                  -0.44
                  Check                06/18/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        Rooms
                                                                                     Debt Expense8889              -62.08
                  Check                06/21/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        F&B
                                                                                     Debt Expense1884             -150.00
                  Check                06/23/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        F&B
                                                                                     Debt Expense1884             -282.44
                  Check                06/25/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        Rooms
                                                                                     Debt Expense8889             -164.25
                  General Journal      06/25/2021   SQVRFY      Square         A&G - CC Processing Fees              -0.01
                  Check                06/28/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        Rooms
                                                                                     Debt Expense8889             -343.91
                  Check                06/30/2021   ACH         FISERV MERCHANT
                                                                           A&G - Bad
                                                                                 CHARGEBACKS        F&B
                                                                                     Debt Expense1884             -236.26
               Total Checks and Payments                                                                       -88,796.95




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                                                    Pg 6 ofPg  Detail
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                                           1103500 · TD Mgmt Main Account...1596, Period Ending 06/30/2021

                            Type          Date         Num                        Name                      Description            Clr        Amount

Beginning Balance
           Cleared Transactions
               Checks and Payments - 315 items
                    Bill Pmt -Check     03/31/2021   1027      Arctic Glacier - Icesurance                                          
                                                                                                     F&B - Equipment Rental (Ice Machine)       -477.96
                    Bill Pmt -Check     05/03/2021   1046      Merv Filters LLC                      POM - Engineering Supplies               -1,260.00
                    Bill Pmt -Check     05/03/2021   1047      Advanced Flameproofing Corp.          POM - Life/Safety                         -903.23
                    Bill Pmt -Check     05/03/2021   1038      All Squared                                                         
                                                                                                     Rooms - Travel Agent Commissions             -56.70
                    Bill Pmt -Check     05/07/2021   1084      Arctic Glacier - Icesurance                                          
                                                                                                     F&B - Equipment Rental (Ice Machine)       -955.92
                    Bill Pmt -Check     05/07/2021   1078      Hospitality Resource Industries       POM - Engineering Supplies                -735.41
                    Check               05/07/2021   1253      Chun Wong                                                            
                                                                                                     Payroll Replacement Check (Reissued)       -632.47
                    Bill Pmt -Check     05/10/2021   1098      TechGrass                                                           
                                                                                                     POM - Grounds, Maintenance & Landscaping
                                                                                                                                            -3,260.25
                    Bill Pmt -Check     05/13/2021   1104      Champion Elevator Corp.               POM - Elevator Services                     -80.00
                    Bill Pmt -Check     05/13/2021   1103      NYC Department of Buildings           A&G - Elevator Fees                         -40.00
                    Bill Pmt -Check     05/14/2021   1111      Sabre Hospitality Solutions           Rooms - Reservations Services &S&M - Consortia
                                                                                                                                             -7,805.47
                                                                                                                                                     Fees
                    Bill Pmt -Check     05/14/2021   1109      Chun Wong                                                            
                                                                                                     Payroll Replacement Check (Reissued)       -621.39
                    Bill Pmt -Check     05/14/2021   1113      BirchStreet Technologies, LLC         ITS - F&B Accubar Software                -429.33
                    Bill Pmt -Check     05/21/2021   1155      White Wall Locations LLC              S&M - Promotion                          -4,000.00
                    Bill Pmt -Check     05/21/2021   1157      NYC & Company                         S&M - Dues & Subscriptions               -2,931.00
                    Bill Pmt -Check     05/21/2021   1180      Innovation Shades                     Rooms - Operating Supplies               -2,068.62
                    Bill Pmt -Check     05/21/2021   1159      Michelle Price                        F&B - Music & Entertainment              -1,700.00
                    Bill Pmt -Check     05/21/2021   1149      The Regency Group                     S&M - Collateral Material                -1,466.07
                    Bill Pmt -Check     05/21/2021   1162      GdeP Inc.                             F&B - Food                                -708.00
                    Bill Pmt -Check     05/21/2021   1150      ScentAir Technologies                 POM - Engineering Supplies                -646.72
                    Bill Pmt -Check     05/21/2021   1160      DNA Illumination, Inc. (xslighting)   F&B - Marketing & Promotion               -500.00
                    Bill Pmt -Check     05/21/2021   1154      Bellocq, LLC                          F&B - N/A Beverage                        -225.62
                    Bill Pmt -Check     05/24/2021   1164      Luxury Gourmet Sweets                 Minibar - Sundries                        -672.20
                    Bill Pmt -Check     05/26/2021   1195      Sabre Hospitality Solutions           Rooms - Reservations Services &S&M - Consortia
                                                                                                                                             -7,665.61
                                                                                                                                                     Fees
                    Bill Pmt -Check     05/26/2021   1198      Oracle America Inc.                                                  
                                                                                                     ITS - Property Management Software        -7,068.91
                    Bill Pmt -Check     05/26/2021   1181      Joe's Fabric Warehouse                Rooms - Operating Supplies               -5,852.03
                    Bill Pmt -Check     05/26/2021   1168      Metro Electrical Contractors, Inc.    POM - Electric Repair                    -5,000.00
                    Bill Pmt -Check     05/26/2021   1175      Edison Parker & Associates LLC        POM - Plumbing                           -4,339.34
                    Bill Pmt -Check     05/26/2021   1189      I. Halper                             F&B - Supplies                           -2,501.10
                    Check               05/26/2021   1258      Oracle America Inc.                                                   (Reissued)
                                                                                                     ITS - Property Management Software     -2,344.24
                    Check               05/26/2021   1257      Protek                                POM - Kitchen Equipment Repairs & Maintenance
                                                                                                                                               -2,193.41
                                                                                                                                                     (Reissued)
                    Bill Pmt -Check     05/26/2021   1179      Champion Elevator Corp.               POM - Elevator Services                  -2,186.75
                    Bill Pmt -Check     05/26/2021   1178      Royal Waste Services                  POM - Waste Removal                      -2,159.32
                    Bill Pmt -Check     05/26/2021   1192      Ford & Harrison LLP                   A&G - Legal Services                     -2,100.00
                    Bill Pmt -Check     05/26/2021   1174      County Fire Inc.                      POM - Life/Safety                        -1,994.39
                    Bill Pmt -Check     05/26/2021   1187      Arctic Glacier - Icesurance                                          
                                                                                                     F&B - Equipment Rental (Ice Machine)      -1,911.84
                    Bill Pmt -Check     05/26/2021   1190      White Plains Linen                    F&B - Linen Laundry                      -1,246.66
                    Bill Pmt -Check     05/26/2021   1177      Target Exterminating Inc.- Hotel      POM - Extermination                       -979.88
                    Bill Pmt -Check     05/26/2021   1196      Fivepals, Inc.                        ITS - Alice POM Software                  -871.00
                    Bill Pmt -Check     05/26/2021   1193      City Marshal Henry Daley              A&G - FDNY Fees                           -800.00
                    Bill Pmt -Check     05/26/2021   1191      Kaufman Borgeest & Ryan LLP           A&G - Legal Services                      -649.00
                    Bill Pmt -Check     05/26/2021   1173      Ian Carroll (Tonyblair69)             F&B - Music & Entertainment               -600.00
                    Bill Pmt -Check     05/26/2021   1183      New York Post                         Rooms - Guest Amenities                   -519.68
                    Bill Pmt -Check     05/26/2021   1186      AUTOTAP Corporation                   F&B - N/A Beverage                        -498.15
                    Bill Pmt -Check     05/26/2021   1171      Alex Simon Music                      F&B - Music & Entertainment               -400.00
                    Bill Pmt -Check     05/26/2021   1170      Claudius Raphael                      F&B - Music & Entertainment               -400.00
                    Check               05/26/2021   1256      IDEAS                                                               
                                                                                                     ITS - Room Revenue Software (Reissued)     -400.00
                    Bill Pmt -Check     05/26/2021   1188      Balter Sales Co.                      F&B - Glassware & Supplies                -367.52
                    Bill Pmt -Check     05/26/2021   1172      Michelle Valenzuela                   F&B - Music & Entertainment               -300.00
                    Check               05/26/2021   1255      Front Desk Supply                                                    
                                                                                                     Rooms - Guest Supplies (Reissued)          -290.80
                    Bill Pmt -Check     05/26/2021   1184      Dow Jones & Co.                       Rooms - Guest Amenities                     -38.40




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                                  1103500 · TD Mgmt Main Account...1596, Period Ending 06/30/2021

                      Type        Date          Num                       Name                        Description              Clr         Amount

              Bill Pmt -Check   05/28/2021   1204     Design Window Covering                   Rooms - Operating Supplies                  -4,668.02
              Check             05/28/2021   1259                                                                             
                                                      Charter Linen & Laundry Service -Next Gen Rooms - Linen Laundry (Reissued)            -3,498.48
              Bill Pmt -Check   05/28/2021   1202     Simon Warrington                         S&M - Contract Labor (Marketing Consultant)-1,923.00
              Bill Pmt -Check   05/28/2021   1209     James Billingsley                        S&M - Photography                           -1,900.00
              Bill Pmt -Check   05/28/2021   1203     Fall Family LLC                                                          
                                                                                               POM - Contract Labor (Elevator Attendant)     -550.40
              Bill Pmt -Check   05/28/2021   1205     Andre Watson                             F&B - Music & Entertainment                  -550.00
              Bill Pmt -Check   05/31/2021   1220     Design Window Covering                   Rooms - Operating Supplies                  -4,668.01
              Bill Pmt -Check   05/31/2021   1211     D'Artagnan                               F&B - Food                                  -4,278.19
              Bill Pmt -Check   05/31/2021   1212     Riviera Produce                          F&B - Food                                  -3,631.02
              Check             05/31/2021   1262     Brouqueline, LLC                                                        
                                                                                               F&B - Marketing & Promotion (Reissued)       -1,575.00
              Bill Pmt -Check   05/31/2021   1213     Alboro National                          F&B - Contract Services (Security)          -1,485.04
              Check             05/31/2021   1261     Ella Darr                                                               
                                                                                               F&B - Music & Entertainment (Reissued)        -700.00
              Bill Pmt -Check   05/31/2021   1217     Ian Carroll (Tonyblair69)                F&B - Music & Entertainment                  -600.00
              Bill Pmt -Check   05/31/2021   1218     Lohrasp Kansara                          F&B - Music & Entertainment                  -500.00
              Check             05/31/2021   1260     Alex Simon Music                                                        
                                                                                               F&B - Music & Entertainment (Reissued)        -200.00
              Bill Pmt -Check   06/01/2021   ACH      Dairyland USA Corp.                                                     
                                                                                               F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                         -7,549.39
              Bill Pmt -Check   06/01/2021   ACH      Sorbis                                   ITS - IT Contract Services                  -6,372.50
              Check             06/01/2021   ACH      Visa Chase Ink                           A&G - Credit Card Payment                   -1,000.00
              Check             06/01/2021   ACH      Bank of America Business Card 7197       A&G - Credit Card Payment                   -1,000.00
              Check             06/01/2021   EFT      American Express - Gold                  A&G - Credit Card Payment                    -812.54
              Bill Pmt -Check   06/01/2021   1200     Moshe Schepansky                                                        
                                                                                               POM - Employee Benefits (Insurance)           -495.74
              Bill Pmt -Check   06/02/2021   ACH      Southern Glazer's of NY Metro            F&B - Alcohol                              -14,057.85
              Bill Pmt -Check   06/02/2021   ACH      Dairyland USA Corp.                                                     
                                                                                               F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                         -3,782.75
              Bill Pmt -Check   06/02/2021   Wire     Mint Development...0696                  POM - Engineers Contract Labor              -3,275.00
              Bill Pmt -Check   06/02/2021   ACH      Empire Blue Cross Blue Shield                                          
                                                                                               Employee Health Insurance Monthly            -2,214.48
              Bill Pmt -Check   06/02/2021   ACH      Dairyland USA Corp.                                                     
                                                                                               F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                         -1,620.09
              Bill Pmt -Check   06/02/2021   Wire     Janover LLC                                                            
                                                                                               Employee Health Insurance Monthly            -1,337.94
              Check             06/02/2021   ACH      Ascentium Capital                        Rooms - Cable Television                    -1,249.32
              Bill Pmt -Check   06/02/2021   ACH      Dairyland USA Corp.                                                     
                                                                                               F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                         -1,029.93
              Check             06/02/2021   1306     Seydou Ouattara                          Payroll Replacement Check                    -473.66
              Bill Pmt -Check   06/02/2021   ACH      Dairyland USA Corp.                                                     
                                                                                               F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                          -326.49
              Bill Pmt -Check   06/02/2021   ACH      Elavon                                   A&G - CC Processing Fees                     -287.52
              Bill Pmt -Check   06/02/2021   ACH      Verizon                                                                  
                                                                                               ITS - Elevator Phone Lines Monthly            -199.20
              Check             06/02/2021   ACH      TD Bank 1596                             A&G - Banking Charges                          -30.00
              Check             06/02/2021   ACH      TD Bank 1596                             A&G - Banking Charges                          -30.00
              Bill Pmt -Check   06/03/2021   1226     Matouk                                   Rooms - Linen Cost                          -7,005.82
              Bill Pmt -Check   06/03/2021   1229     Charter Linen & Laundry Service -Next Gen Rooms - Linen Laundry                      -3,516.71
              Check             06/03/2021   1264     Complete Equipment Rentals                                              
                                                                                               POM - Engineering Supplies (Reissued)        -3,320.00
              Bill Pmt -Check   06/03/2021   1219     NYC Hospitality Services LLC             F&B - Marketing & Promotion                 -2,500.00
              Bill Pmt -Check   06/03/2021   1230     Boca Terry                               Rooms - Linen Cost                          -2,177.46
              Check             06/03/2021   1263     Michelle Price                                                          
                                                                                               F&B - Music & Entertainment (Reissued)       -2,100.00
              Check             06/03/2021   EFT      American Express - Gold                  A&G - Credit Card Payment                   -1,668.69
              Bill Pmt -Check   06/03/2021   1223     RMAC Supplies Co.                        Rooms - Cleaning Supplies                   -1,069.44
              Bill Pmt -Check   06/03/2021   1224     Logical Attitude Enterprises Inc.        S&M - Promotion                             -1,000.00
              Bill Pmt -Check   06/03/2021   1221     Nassau Candy Distributors Inc.           F&B - Minibar Food                           -435.12
              Bill Pmt -Check   06/04/2021   1288     Booking.com                              Rooms - OTA Commissions                     -8,215.20
              Check             06/04/2021   Wire     APLBC LTD.                               S&M - Marketing                             -5,200.00
              Bill Pmt -Check   06/04/2021   Wire     Mint Development...0696                  POM - Engineers Contract Labor              -3,537.50
              Bill Pmt -Check   06/04/2021   1232     Sogno Toscano Tuscan Dream               F&B - Food                                  -1,976.56
              Check             06/04/2021   1266     Simon Warrington                         S&M - Contract Labor (Marketing Consultant)-1,923.00
                                                                                                                                            [Reissued]
              Bill Pmt -Check   06/04/2021   ACH      Dairyland USA Corp.                                                     
                                                                                               F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                         -1,309.48
              Bill Pmt -Check   06/04/2021   1251     Gray Matter Networks                     ITS - Phone Support                          -909.83
              Bill Pmt -Check   06/04/2021   1243     Fivepals, Inc.                           ITS - Alice POM Software                     -871.00
              Bill Pmt -Check   06/04/2021   1242     Big Blue Beer Distributor                F&B - Alcohol                                -851.18




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                      Type        Date          Num                          Name                           Description         Clr     Amount

              Bill Pmt -Check   06/04/2021   ACH          Winebow, Inc                          F&B - Alcohol                             -787.30
              Bill Pmt -Check   06/04/2021   1271         Petty Cash                            F&B - Alcohol                             -742.36
              Check             06/04/2021   ACH          Phase Three Capital LLC               F&B - Equipment Rental                    -535.93
              Bill Pmt -Check   06/04/2021   1235         Anthony Jones                         Payroll Replacement Check                 -528.03
              Bill Pmt -Check   06/04/2021   1250         My Mommas Rice LLC                    F&B - Music & Entertainment               -500.00
              Bill Pmt -Check   06/04/2021   1237         My Mommas Rice LLC                    F&B - Music & Entertainment               -500.00
              Bill Pmt -Check   06/04/2021   1249         DNA Illumination, Inc. (xslighting)   F&B - Marketing & Promotion               -500.00
              Bill Pmt -Check   06/04/2021   1239         GdeP Inc.                             F&B - Food                                -472.00
              Bill Pmt -Check   06/04/2021   1236         Lohrasp Kansara                       F&B - Music & Entertainment               -400.00
              Bill Pmt -Check   06/04/2021   1244         IDEAS                                 ITS - Room Revenue Software               -400.00
              Check             06/04/2021   1265         Madison Lombard                                                      
                                                                                                Payroll Replacement Check (Reissued)       -278.10
              Bill Pmt -Check   06/04/2021   1233         Kennedy Bacchus                       Payroll Replacement Check                 -228.40
              Bill Pmt -Check   06/04/2021   1247         Alex Simon Music                      F&B - Music & Entertainment               -200.00
              Bill Pmt -Check   06/04/2021   1246         Alberto Gomez                         F&B - Operating Supplies                  -189.61
              Bill Pmt -Check   06/04/2021   1238         Andre Watson                          F&B - Marketing & Promotion               -100.00
              Check             06/04/2021   ACH          TD Bank 1596                          A&G - Banking Charges                       -50.00
              Check             06/04/2021   ACH          TD Bank 1596                          A&G - Banking Charges                       -30.00
              Bill Pmt -Check   06/07/2021   ACH          Dairyland USA Corp.                                                  
                                                                                                F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                          -4,607.60
              Check             06/07/2021   Debit Card   Wayfair                               F&B - Operating Supplies                 -2,808.95
              Bill Pmt -Check   06/07/2021   1245         Alboro National                       F&B - Contract Services (Security)       -2,473.08
              Bill Pmt -Check   06/07/2021   1248         Mod Schwalbe Design                   S&M - Photography                         -800.00
              Bill Pmt -Check   06/08/2021   ACH          Oxford Health - Combined                                            
                                                                                                Employee Health Insurance Monthly         -5,396.28
              Bill Pmt -Check   06/08/2021   1277         NYC Water Board                       Utilities                                -4,690.74
              Bill Pmt -Check   06/08/2021   1283         D'Artagnan                            F&B - Food                               -4,684.72
              Bill Pmt -Check   06/08/2021   ACH          Dairyland USA Corp.                                                  
                                                                                                F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                          -1,615.05
              Bill Pmt -Check   06/08/2021   ACH          Dairyland USA Corp.                                                  
                                                                                                F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                          -1,319.30
              Bill Pmt -Check   06/08/2021   1276         Protek                                POM - Kitchen Equipment Repairs & Maintenance
                                                                                                                                          -1,200.35
              Check             06/08/2021   1305         Jeffrey Milton                        Payroll Replacement Check                 -947.93
              Bill Pmt -Check   06/08/2021   ACH          Empire Merchants, LLC.                F&B - Alcohol                             -826.77
              Bill Pmt -Check   06/08/2021   1285         GdeP Inc.                             F&B - Food                                -767.00
              Check             06/08/2021   1307         Seydou Ouattara                       Payroll Replacement Check                 -636.17
              Check             06/08/2021   EFT          American Express - Gold               A&G - Credit Card Payment                 -576.88
              Bill Pmt -Check   06/08/2021   1284         Sogno Toscano Tuscan Dream            F&B - Food                                -392.20
              Check             06/08/2021   ACH          TD Bank 1596                          A&G - Banking Charges                     -105.00
              Check             06/08/2021   ACH          TD Bank 1596                          A&G - Banking Charges                       -70.00
              Check             06/08/2021   ACH          TD Bank 1596                          A&G - Banking Charges                       -30.00
              Bill Pmt -Check   06/09/2021   1268         NYC Hospitality Services LLC          F&B - Marketing & Promotion              -5,500.00
              Bill Pmt -Check   06/09/2021   ACH          Santec Inc. (Cleanslate)              F&B - Cleaning Supplies                  -1,193.03
              Check             06/09/2021   ACH          Visa Chase Ink                        A&G - Credit Card Payment                -1,000.00
              Check             06/09/2021   ACH          Bank of America Business Card 7197    A&G - Credit Card Payment                -1,000.00
              Bill Pmt -Check   06/09/2021   1267         Bravo Distributing LLC                F&B - Alcohol                             -684.00
              Bill Pmt -Check   06/10/2021   1286         Riviera Produce                       F&B - Food                               -4,158.65
              Bill Pmt -Check   06/10/2021   Wire         Mint Development...0696               POM - Engineers Contract Labor           -3,515.00
              Bill Pmt -Check   06/10/2021   1298         Todd Harris Co, Inc                   POM - Engineering Supplies               -2,687.49
              Bill Pmt -Check   06/10/2021   ACH          Winebow, Inc                          F&B - Alcohol                            -2,035.90
              Bill Pmt -Check   06/10/2021   ACH          Empire Merchants, LLC.                F&B - Alcohol                            -1,382.48
              Bill Pmt -Check   06/10/2021   1280         Brouqueline, LLC                      F&B - Marketing & Promotion              -1,125.00
              Check             06/10/2021   EFT          American Express - Gold               A&G - Credit Card Payment                -1,112.55
              Bill Pmt -Check   06/10/2021   1269         Manhattan Beer Distributors           F&B - Alcohol                             -758.68
              Bill Pmt -Check   06/10/2021   1270         Big Blue Beer Distributor             F&B - Alcohol                             -604.66
              Bill Pmt -Check   06/10/2021   1279         Andre Watson                          F&B - Music & Entertainment               -450.00
              Bill Pmt -Check   06/10/2021   1282         Maria Ton                             F&B - Music & Entertainment               -400.00
              Bill Pmt -Check   06/10/2021   1281         Claudius Raphael                      F&B - Music & Entertainment               -400.00
              Bill Pmt -Check   06/10/2021   1272         Nassau Candy Distributors Inc.        F&B - Minibar Food                        -338.29




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                      Type        Date          Num                      Name                         Description              Clr       Amount

              Check             06/10/2021   ACH      TD Bank 1596                             A&G - Banking Charges                        -30.00
              Bill Pmt -Check   06/11/2021   1297     Boruch Bergman                           POM - Engineering Supplies                -8,937.64
              Bill Pmt -Check   06/11/2021   1313     Matouk                                   Rooms - Linen Cost                        -7,005.82
              Bill Pmt -Check   06/11/2021   1295     Metro Electrical Contractors, Inc.       POM - Electric Repair                     -5,000.00
              Check             06/11/2021   ACH      Visa Chase Ink                           A&G - Credit Card Payment                 -4,600.49
              Bill Pmt -Check   06/11/2021   ACH      Southern Glazer's of NY Metro            F&B - Alcohol                             -3,566.00
              Check             06/11/2021   EFT      American Express - Gold                  A&G - Credit Card Payment                 -2,406.59
              Check             06/11/2021   ACH      Bank of America Business Card 7197       A&G - Credit Card Payment                 -2,356.68
              Bill Pmt -Check   06/11/2021   1287     A&L Cesspool Service Corp.               POM - Plumbing                            -1,900.00
              Bill Pmt -Check   06/11/2021   1351     The Metro Group, Inc.                    POM - Engineering Supplies                -1,780.11
              Bill Pmt -Check   06/11/2021   1300     Fall Family LLC                                                          
                                                                                               POM - Contract Labor (Elevator Attendant) -1,754.40
              Bill Pmt -Check   06/11/2021   1273     Simon Warrington                         S&M - Contract Labor (Marketing Consultant)-1,282.00
              Bill Pmt -Check   06/11/2021   1312     Sabre Hospitality Solutions              S&M - Consortia Fees                        -907.29
              Bill Pmt -Check   06/11/2021   1361     Balter Sales Co.                         F&B - Glassware & Supplies                  -675.95
              Bill Pmt -Check   06/11/2021   1274     Vanessa Chu                              Payroll Replacement Check                   -355.72
              Bill Pmt -Check   06/11/2021   ACH      Dairyland USA Corp.                                                     
                                                                                               F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                          -339.88
              Bill Pmt -Check   06/11/2021   Wire     Ralph Ervin                              Payroll Replacement Check                   -232.99
              Bill Pmt -Check   06/11/2021   1275     Louis Yan                                Payroll Replacement Check                   -207.17
              Check             06/11/2021   ACH      TD Bank 1596                             A&G - Banking Charges                        -30.00
              Bill Pmt -Check   06/14/2021   ACH      Southern Glazer's of NY Metro            F&B - Alcohol                            -14,624.22
              Bill Pmt -Check   06/14/2021   ACH      Dairyland USA Corp.                                                     
                                                                                               F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                         -6,152.41
              Bill Pmt -Check   06/14/2021   ACH      Guard Insurance                          Workers Compensation Insurance            -1,375.81
              Bill Pmt -Check   06/15/2021   1302     Darius Designs                           Rooms - Operating Supplies                -4,317.39
              Bill Pmt -Check   06/15/2021   1292     In-Room Plus Inc.                        F&B - Minibar Food & Sundries             -3,568.06
              Bill Pmt -Check   06/15/2021   1294     Alboro National                          F&B - Contract Services (Security)        -3,227.58
              Bill Pmt -Check   06/15/2021   1293     DNA Illumination, Inc. (xslighting)      F&B - Marketing & Promotion               -2,895.25
              Bill Pmt -Check   06/15/2021   1367     Emett Controls Inc.                      ITS - System Expenses                     -2,351.70
              Bill Pmt -Check   06/15/2021   1299     Champion Elevator Corp.                  POM - Elevator Services                   -2,186.75
              Bill Pmt -Check   06/15/2021   1296     Protek                                   POM - Kitchen Equipment Repairs & Maintenance
                                                                                                                                         -1,968.27
              Bill Pmt -Check   06/15/2021   ACH      Dairyland USA Corp.                                                     
                                                                                               F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                         -1,575.30
              Bill Pmt -Check   06/15/2021   1366     Cristian Ramirez                         F&B - Contract Labor (Doorman)            -1,500.00
              Bill Pmt -Check   06/15/2021   ACH      Dairyland USA Corp.                                                     
                                                                                               F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                         -1,493.67
              Bill Pmt -Check   06/15/2021   1357     Coffee of Grace                          F&B - N/A Beverage                        -1,135.00
              Bill Pmt -Check   06/15/2021   1290     Bravo Distributing LLC                   F&B - Alcohol                               -972.00
              Bill Pmt -Check   06/15/2021   ACH      Dairyland USA Corp.                                                     
                                                                                               F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                          -925.92
              Bill Pmt -Check   06/15/2021   1303     Dr Shade Design Inc                      Rooms - Operating Supplies                  -468.16
              Bill Pmt -Check   06/15/2021   1358     Fine & Raw Chocolate                     F&B - Food                                  -396.00
              Bill Pmt -Check   06/15/2021   1356     AUTOTAP Corporation                      F&B - N/A Beverage                          -303.85
              Bill Pmt -Check   06/15/2021   1354     Lavazza Premium Coffees Corp.            F&B - N/A Beverage                          -250.00
              Bill Pmt -Check   06/15/2021   1359     Popinsanity                              F&B - Minibar Food                          -235.00
              Bill Pmt -Check   06/15/2021   1360     Allbridge (DCI-Design)                   ITS - Phone Support                          -55.00
              Bill Pmt -Check   06/16/2021   1352     NYC Hospitality Services LLC             F&B - Marketing & Promotion               -6,000.00
              Bill Pmt -Check   06/16/2021   1311     Charter Linen & Laundry Service -Next Gen Rooms - Linen Laundry                    -5,399.13
              Bill Pmt -Check   06/16/2021   1309     Horticultural Creations                                                
                                                                                               POM - Grounds, Maintenance & Landscaping
                                                                                                                                      -1,015.80
              Bill Pmt -Check   06/16/2021   1310     Hospitality Careers Online, Inc.         A&G - Human Resources                       -999.00
              Bill Pmt -Check   06/16/2021   1308     GdeP Inc.                                F&B - Food                                  -590.00
              Bill Pmt -Check   06/16/2021   ACH      Southern Glazer's of NY Metro            F&B - Alcohol                               -427.96
              Bill Pmt -Check   06/17/2021   ACH      Lobster Place Wholesale Seafood          F&B - Food                                -3,775.90
              Bill Pmt -Check   06/17/2021   ACH      Empire Merchants, LLC.                   F&B - Alcohol                             -3,217.09
              Bill Pmt -Check   06/17/2021   ACH      Winebow, Inc                             F&B - Alcohol                             -2,544.90
              Bill Pmt -Check   06/17/2021   Wire     Rifka Buls                               S&M - Contract Labor (Sales)              -1,500.00
              Bill Pmt -Check   06/17/2021   ACH      David Bowler Wine                        F&B - Alcohol                               -306.00
              Bill Pmt -Check   06/17/2021   Wire     Good Design                              F&B - Operating Supplies                    -160.00
              Check             06/17/2021   ACH      TD Bank 1596                             A&G - Banking Charges                        -50.00




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                      Type        Date          Num                            Name                             Description         Clr       Amount

              Check             06/17/2021   ACH          TD Bank 1596                              A&G - Banking Charges                        -50.00
              Bill Pmt -Check   06/18/2021   ACH          Dairyland USA Corp.                                                      
                                                                                                    F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                              -3,983.87
              Bill Pmt -Check   06/18/2021   Wire         Mint Development...0696                   POM - Engineers Contract Labor            -3,515.00
              Bill Pmt -Check   06/18/2021   1325         Krinsky Design                            S&M - Photography                         -3,264.99
              Bill Pmt -Check   06/18/2021   ACH          Sorbis                                    ITS - IT Contract Services                -2,915.58
              Bill Pmt -Check   06/18/2021   1315         Simon Warrington                          S&M - Contract Labor (Marketing Consultant)-1,923.00
              Bill Pmt -Check   06/18/2021   1314         Julita Kropiwnicki                        A&G - Expense Reimbursement                 -992.59
              Bill Pmt -Check   06/18/2021   1318         Alex Simon Music                          F&B - Music & Entertainment                 -800.00
              Bill Pmt -Check   06/18/2021   1317         Convenience Kits International Ltd.       F&B - Minibar Sundries                      -644.72
              Bill Pmt -Check   06/18/2021   1323         Ian Carroll (Tonyblair69)                 F&B - Music & Entertainment                 -600.00
              Bill Pmt -Check   06/18/2021   1316         Big Geyser Inc.                           F&B - Minibar Food                          -356.80
              Bill Pmt -Check   06/18/2021   1322         Need to Know Nightlife (Joseph Greiner)   F&B - Music & Entertainment                 -350.00
              Bill Pmt -Check   06/18/2021   1320         Michael Davidson                          F&B - Music & Entertainment                 -300.00
              Bill Pmt -Check   06/18/2021   ACH          Southern Glazer's of NY Metro             F&B - Alcohol                               -264.00
              Bill Pmt -Check   06/18/2021   1319         Andre Watson                              F&B - Music & Entertainment                 -150.00
              Bill Pmt -Check   06/18/2021   ACH          Con Edison - 1RTL (0300-6)                Utilities                                    -32.73
              Bill Pmt -Check   06/18/2021   ACH          Con Edison - 3RTL (0500-1)                Utilities                                    -32.73
              Bill Pmt -Check   06/18/2021   ACH          Con Edison - 5RTL (0700-7)                Utilities                                    -32.73
              Check             06/18/2021   ACH          TD Bank 1596                              A&G - Banking Charges                        -30.00
              Bill Pmt -Check   06/21/2021   ACH          Expedia, Inc.                             Rooms - OTA Commissions                  -11,911.64
              Bill Pmt -Check   06/21/2021   ACH          Dairyland USA Corp.                                                      
                                                                                                    F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                              -4,580.34
              Check             06/21/2021   ACH          Bank of America Business Card 7197        A&G - Credit Card Payment                 -2,000.00
              Check             06/21/2021   ACH          Visa Chase Ink                            A&G - Credit Card Payment                 -2,000.00
              Check             06/21/2021   ACH          Intuit Quickbooks                         ITS - System Expenses                       -383.24
              Bill Pmt -Check   06/22/2021   ACH          Southern Glazer's of NY Metro             F&B - Alcohol                            -21,404.40
              Bill Pmt -Check   06/22/2021   Wire         H & A Clarke, Inc                         Rooms - Linen Cost                        -8,071.25
              Check             06/22/2021   ACH          Visa Chase Ink                            A&G - Credit Card Payment                 -5,552.86
              Bill Pmt -Check   06/22/2021   1326         D'Artagnan                                F&B - Food                                -5,484.84
              Bill Pmt -Check   06/22/2021   1330         Big Blue Beer Distributor                 F&B - Alcohol                             -2,624.50
              Check             06/22/2021   EFT          American Express - Gold                   A&G - Credit Card Payment                 -2,214.78
              Bill Pmt -Check   06/22/2021   ACH          Southern Glazer's of NY Metro             F&B - Alcohol                             -1,678.00
              Bill Pmt -Check   06/22/2021   ACH          Dairyland USA Corp.                                                      
                                                                                                    F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                              -1,350.56
              Bill Pmt -Check   06/22/2021   ACH          Dairyland USA Corp.                                                      
                                                                                                    F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                              -1,262.49
              Bill Pmt -Check   06/22/2021   ACH          Dairyland USA Corp.                                                      
                                                                                                    F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                              -1,012.27
              Bill Pmt -Check   06/22/2021   ACH          Empire Merchants, LLC.                    F&B - Alcohol                               -902.68
              Check             06/22/2021   ACH          Alliance Laundry Services                                               
                                                                                                    Rooms - Washer/Dryer Monthly Lease           -324.85
              Check             06/22/2021   ACH          TD Bank 1596                              A&G - Banking Charges                        -30.00
              Bill Pmt -Check   06/23/2021   Wire         Kassatex                                  Rooms - Linen Cost                        -9,989.46
              Bill Pmt -Check   06/23/2021   ACH          Southern Glazer's of NY Metro             F&B - Alcohol                             -6,930.61
              Bill Pmt -Check   06/23/2021   1342         NYC Hospitality Services LLC              F&B - Marketing & Promotion               -6,000.00
              Bill Pmt -Check   06/23/2021   Wire         T-Y Group, LLC (Harbor Linen)             Rooms - Linen Cost                        -3,730.85
              Check             06/23/2021   Debit Card   Microsoft Store                           ITS - Operating Supplies                  -2,740.35
              Bill Pmt -Check   06/23/2021   ACH          Micros Retail Systems Inc.                ITS - F&B POS Support Monthly               -994.99
              Check             06/23/2021   ACH          TD Bank 1596                              A&G - Banking Charges                        -30.00
              Check             06/23/2021   ACH          TD Bank 1596                              A&G - Banking Charges                        -30.00
              Check             06/24/2021   ACH          Bank of America Business Card 7197        A&G - Credit Card Payment                 -7,802.41
              Bill Pmt -Check   06/24/2021   1331         Alboro National                           F&B - Contract Services (Security)        -2,805.42
              Bill Pmt -Check   06/24/2021   ACH          Winebow, Inc                              F&B - Alcohol                             -1,683.00
              Bill Pmt -Check   06/24/2021   ACH          Empire Merchants, LLC.                    F&B - Alcohol                             -1,166.76
              Bill Pmt -Check   06/24/2021   1343         Ella Darr                                 F&B - Music & Entertainment               -1,050.00
              Bill Pmt -Check   06/24/2021   1347         Andre Watson                              F&B - Music & Entertainment               -1,000.00
              Bill Pmt -Check   06/24/2021   1346         Alex Simon Music                          F&B - Music & Entertainment                 -800.00
              Bill Pmt -Check   06/24/2021   1345         Cristian Ramirez                          F&B - Contract Labor (Doorman)              -750.00
              Bill Pmt -Check   06/25/2021   ACH          Dairyland USA Corp.                                                      
                                                                                                    F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                              -4,445.46




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                       Type            Date        Num                        Name                     Description             Clr          Amount

               Bill Pmt -Check     06/25/2021   Wire         Mint Development...0696            POM - Engineers Contract Labor              -3,575.00
               Bill Pmt -Check     06/25/2021   ACH          NYSIF-DBL                                                            Leave
                                                                                                Insurance - Disability & Paid Family         -3,085.26
               Check               06/25/2021   EFT          American Express - Gold            A&G - Credit Card Payment                     -967.41
               Bill Pmt -Check     06/25/2021   ACH          Dairyland USA Corp.                                               
                                                                                                F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                           -648.05
               Check               06/25/2021   ACH          TD Bank 1596                       A&G - Banking Charges                          -30.00
               Bill Pmt -Check     06/28/2021   ACH          Dairyland USA Corp.                                               
                                                                                                F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                          -4,834.92
               Bill Pmt -Check     06/28/2021   1392         Complete Equipment Rentals         POM - Engineering Supplies                  -3,243.26
               Bill Pmt -Check     06/28/2021   1369         Big Blue Beer Distributor          F&B - Alcohol                               -2,414.53
               Bill Pmt -Check     06/28/2021   1373         Trummer Hospitality Holdings LLC                                  
                                                                                                F&B - Contract Labor (Beverage Consultant) -1,600.00
               Bill Pmt -Check     06/28/2021   1372         Bravo Distributing LLC             F&B - Alcohol                               -1,080.00
               Bill Pmt -Check     06/28/2021   1382         Fivepals, Inc.                     ITS - Alice POM Software                      -871.00
               Bill Pmt -Check     06/28/2021   ACH          TripAdvisor                        S&M - Dues & Subscriptions                    -788.33
               Check               06/28/2021   Debit Card   Print on Broadway                  A&G - Printing & Stationery                   -734.91
               Bill Pmt -Check     06/29/2021   ACH          Southern Glazer's of NY Metro      F&B - Alcohol                              -23,281.20
               Bill Pmt -Check     06/29/2021   ACH          Empire Merchants, LLC.             F&B - Alcohol                               -8,930.91
               Bill Pmt -Check     06/29/2021   ACH          Winebow, Inc                       F&B - Alcohol                               -3,200.00
               Check               06/29/2021   EFT          American Express - Gold            A&G - Credit Card Payment                   -2,788.72
               Bill Pmt -Check     06/29/2021   ACH          Dairyland USA Corp.                                               
                                                                                                F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                          -1,952.59
               Bill Pmt -Check     06/29/2021   ACH          Dairyland USA Corp.                                               
                                                                                                F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                          -1,554.30
               Bill Pmt -Check     06/29/2021   ACH          Dairyland USA Corp.                                               
                                                                                                F&B - Food, Non-Alcoholic Beverages, and Supplies
                                                                                                                                          -1,182.14
               Bill Pmt -Check     06/29/2021   Wire         Mint Development...0696            POM - Engineers Contract Labor                -760.00
               Bill Pmt -Check     06/29/2021   Wire         Luxury Gourmet Sweets              F&B - Minibar Sundries                        -672.20
               Check               06/29/2021   ACH          TD Bank 1596                       A&G - Banking Charges                          -30.00
               Check               06/29/2021   ACH          TD Bank 1596                       A&G - Banking Charges                          -30.00
               Bill Pmt -Check     06/30/2021   ACH          Sorbis                             ITS - IT Contract Services                  -5,356.46
               Bill Pmt -Check     06/30/2021   Wire         Onyx CenterSource AS                                             
                                                                                                Rooms - Travel Agent Commissions             -4,601.45
               Bill Pmt -Check     06/30/2021   ACH          Empire Merchants, LLC.             F&B - Alcohol                               -1,298.82
               Bill Pmt -Check     06/30/2021   1404         Bianca Uben                        Payroll Replacement Check                     -508.38
               Bill Pmt -Check     06/30/2021   ACH          Empire Merchants, LLC.             F&B - Alcohol                                 -453.60
               Check               06/30/2021   ACH          TD Bank 1596                       A&G - Banking Charges                          -30.00
               Check               06/30/2021   ACH          TD Bank 1596                       A&G - Banking Charges                          -30.00
           Total Checks and Payments                                                                                                       -630,890.46




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                                                   1103510 · TD Mgmt Payroll Account...1603, Period Ending 06/30/2021

 9                           Type                Date           Num                 Name                              Description                      Clr   Amount

Beginning Balance
           Cleared Transactions
               Checks and Payments - 14 items
                     Check                  06/01/2021    ACH            Paychex - Payroll (EIB)      A&G - Payroll Processing Fees                             -627.28
                     General Journal        06/04/2021    PR053021-10    Payroll Entry                Payroll for 05/24/21 - 05/30/21 #223                   -92,067.10
                     General Journal        06/04/2021    PR053021-11    Payroll Entry                Payroll for 05/24/21 - 05/30/21 #223                   -37,509.07
                     Check                  06/07/2021    ACH            Paychex - Payroll (EIB)      A&G - Payroll Processing Fees                             -710.95
                     General Journal        06/11/2021    PR060621-10    Payroll Entry                Payroll for 05/31/21 - 06/06/21 #224                  -113,582.28
                     General Journal        06/11/2021    PR060621-11    Payroll Entry                Payroll for 05/31/21 - 06/06/21 #224                   -48,929.03
                     Check                  06/11/2021    ACH            Paychex - Time & Attend (HRS) ITS - Time & Attendance Software                         -318.85
                     Check                  06/14/2021    ACH            Paychex - Payroll (EIB)      A&G - Payroll Processing Fees                             -711.21
                     General Journal        06/18/2021    PR061321-10    Payroll Entry                Payroll for 06/07/21 - 06/13/21 #225                  -116,310.52
                     General Journal        06/18/2021    PR061321-11    Payroll Entry                Payroll for 06/07/21 - 06/13/21 #225                   -50,574.46
                     Check                  06/21/2021    ACH            Paychex - Payroll (EIB)      A&G - Payroll Processing Fees                             -673.59
                     General Journal        06/25/2021    PR062021-10    Payroll Entry                Payroll for 06/14/21 - 06/20/21 #226                  -125,372.60
                     General Journal        06/25/2021    PR062021-11    Payroll Entry                Payroll for 06/14/21 - 06/20/21 #226                   -52,615.46
                     Check                  06/28/2021    ACH            Paychex - Payroll (EIB)      A&G - Payroll Processing Fees                             -750.68
               Total Checks and Payments                                                                                                                     -640,753.08
               Deposits and Credits - 12 items
                     General Journal        06/02/2021    HFAdj3         Seydou Ouattara              Return Payroll Check due to incorrect deposit info        473.66
                     General Journal        06/08/2021    HFAdj4         Seydou Ouattara              Return Payroll Check due to incorrect deposit info        636.17
                     General Journal        06/08/2021    HFAdj4         Jeffrey Milton               Return Payroll Check due to incorrect deposit info        947.93
                     General Journal        06/24/2021    ReturnCh       Joseph Gauthier              Return Payroll Check due to incorrect deposit info        302.97
                     General Journal        06/28/2021    ReturnCh       Frederick Wakkary            Return of stale check                                     319.56
                     General Journal        06/28/2021    ReturnCh       Frederick Wakkary            Return of stale check                                     342.33
                     General Journal        06/28/2021    ReturnCh       Frederick Wakkary            Return of stale check                                     392.10
                     General Journal        06/28/2021    ReturnCh       Frederick Wakkary            Return of stale check                                     414.54
               Total Deposits and Credits                                                                                                                      3,829.26




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                                    1103520 · TD Mgmt Reserve Account...1611, Period Ending 06/30/2021

                          Type             Date    Num       Name               Description     Clr      Amount

Beginning Balance
           Cleared Transactions
               Checks and Payments - 2 items
                       Check          06/21/2021   ACH   NYS DTF        Sales Tax Payment               -207,648.35
                       Check          06/30/2021   ACH   TD Bank 1611   A&G - Banking Charges                 -3.00
               Total Checks and Payments                                                                 -207,651.35




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                                         The Williamsburg Hotel
                                      Income Statement Summary
                                               June 2021

                                                               Actual          %

               Paid Occupied Rooms                                  3,688
               Occupied Rooms                                       3,742
               Available Rooms                                      4,410




                                                                        L
               Paid Occupancy %                                     83.6%
               Total Occupancy %                                    84.9%
               Paid ADR                                   $        315.38




                                                         A
               Total ADR                                  $        310.82
               RevPAR                                     $        263.74




                                                      TI
               Revenue
               Rooms                                      $   1,163,103.04    55.7%
               Food & Beverage                            $     866,150.05    41.4%
                                                          $      60,624.27     2.9%
               Total Revenue
                                   EN
               Miscellaneous Revenue
                                                          $   2,089,877.36   100.0%

               Departmental Expenses
               Rooms                                      $    404,690.90    34.8%
               Food & Beverage                            $    554,227.98    64.0%
                      ID
               Total Departmental Expenses                $    958,918.88    45.9%

               Total Departmental Profit                  $   1,130,958.48   54.1%
        NF


               Undistributed Operating Expenses
               Admin & General                            $    279,776.22    13.4%
               Info & Telecomm Systems                    $     20,860.00     1.0%
               Sales & Marketing                          $     85,046.05     4.1%
               Property Operations & Maintenance          $    133,999.06     6.4%
CO




               Utilities                                  $     48,234.21     2.3%
               Total Undistributed Expenses               $    567,915.54    27.2%

               Gross Operating Profit                     $    563,042.94    26.9%

               Property & Liability Insurance             $     16,179.58     0.8%

               Net Operating Profit                       $    546,863.35    26.2%




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                       The Williamsburg Hotel
                           Balance Sheet
         Period Ending                                            30-Jun-21

         Assets
         Cash And Cash Equivalents                        $    1,311,811.57
         Cash - Sales Tax Reserve                         $      323,437.41
         Net Receivables                                  $       86,804.94
         Inventory                                        $       70,710.56
         Net Property Plant and Equipment                 $   95,461,435.57
         Prepaid Expenses                                 $       28,712.87
         Total Assets                                     $   97,282,912.92

         Liabilities
         Accounts Payable                                 $    1,021,763.53
         Advance Deposits                                 $      516,706.89
         Accrued Payroll & Employer Taxes                 $      280,473.69
         Accrued Sales Tax (Rooms)                        $      246,279.42
         Accrued Sales Tax (F&B)                          $       77,157.99
         Long Term Debt                                   $   83,517,769.95
         Other Liabilities                                $        3,870.00
         Total Liabilities                                $   85,664,021.47

         Stockholders' Equity
         Preferred Stock                                  $     4,000,000.00
         Common Stock                                     $    29,346,763.78
         Retained Earnings                                $   (22,274,735.68)
         Net Income                                       $       546,863.35
         Total Stockholder Equity                         $    11,618,891.45

         Total Liabilities + Stockholders' Equity         $   97,282,912.92
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                                                    T   STATEMENT OF ACCOUNT



   THE WILLIAMSBURG HOTEL BK LLC                        Page:                                  1 of 3
   PAYROLL ACCOUNT                                      Statement Period:    Jun 01 2021-Jun 30 2021
   96 WYTHE AVE                                         Cust Ref #:            4380021603-719-T-###
   BROOKLYN NY 11249                                    Primary Account #:              438-0021603




TD Business Premier Checking
THE WILLIAMSBURG HOTEL BK LLC                                                       Account # 438-0021603
PAYROLL ACCOUNT


ACCOUNT SUMMARY
Beginning Balance                     6,214.28                Average Collected Balance           19,755.38
Electronic Deposits                 644,789.78                Interest Earned This Period              0.00
                                                              Interest Paid Year-to-Date               0.00
Electronic Payments                 640,753.08                Annual Percentage Yield Earned         0.00%
Ending Balance                       10,250.98                Days in Period                             30




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                        AMOUNT
06/02            CCD DEPOSIT, PAYCHEX INC. PAYROLL 8jURg6WiEfWNewv                                   473.66
06/04            eTransfer Credit, Online Xfer                                                   130,576.17
                      Transfer from CK 4384910935
06/08            CCD DEPOSIT, PAYCHEX INC. PAYROLL byIrpS3OiJpleCH                                   947.93
06/08            CCD DEPOSIT, PAYCHEX INC. PAYROLL yo3oXJSWv8MlNhy                                   636.17
06/11            eTransfer Credit, Online Xfer                                                   163,511.31
                      Transfer from CK 4384910935
06/17            eTransfer Credit, Online Xfer                                                   167,884.98
                      Transfer from CK 4384910935
06/24            CCD DEPOSIT, PAYCHEX-RCX PAYROLL 93043400001638X                                    302.97
06/24            eTransfer Credit, Online Xfer                                                   178,988.06
                      Transfer from CK 4384910935
06/28            CCD DEPOSIT, PAYCHEX PAYROLL 92940300008344X                                           414.54
06/28            CCD DEPOSIT, PAYCHEX PAYROLL 92940300008342X                                           392.10
06/28            CCD DEPOSIT, PAYCHEX PAYROLL 92940300008341X                                           342.33
06/28            CCD DEPOSIT, PAYCHEX PAYROLL 92940300008343X                                           319.56
                                                                             Subtotal:           644,789.78
Electronic Payments
POSTING DATE     DESCRIPTION                                                                        AMOUNT
06/01            CCD DEBIT, PAYCHEX EIB INVOICE X92697000047579                                      627.28
06/04            CCD DEBIT, PAYCHEX - RCX PAYROLL 92774400001111X                                 92,067.10
06/04            CCD DEBIT, PAYCHEX TPS TAXES 92772800004231X                                     37,509.07
06/07            CCD DEBIT, PAYCHEX EIB INVOICE X92779400020453                                      710.95
06/11            CCD DEBIT, PAYCHEX PAYROLL 92871800001967X                                      113,582.28
06/11            CCD DEBIT, PAYCHEX TPS TAXES 92869200001615X                                     48,929.03
06/11            CCD DEBIT, PAYCHEX-HRS HRS PMT 37560072                                             318.85
06/14            CCD DEBIT, PAYCHEX EIB INVOICE X92872900003157                                      711.21
06/18            CCD DEBIT, PAYCHEX - RCX PAYROLL 92966100001658X                                116,310.52

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         10,250.98
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                    Statement Period:    Jun 01 2021-Jun 30 2021
                                                    Cust Ref #:            4380021603-719-T-###
                                                    Primary Account #:              438-0021603




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                     AMOUNT
06/18           CCD DEBIT, PAYCHEX TPS TAXES 92961900004895X                                  50,574.46
06/21           CCD DEBIT, PAYCHEX EIB INVOICE X92967700016330                                   673.59
06/25           CCD DEBIT, PAYCHEX PAYROLL 93058800001143X                                   125,372.60
06/25           CCD DEBIT, PAYCHEX TPS TAXES 93060700001672X                                  52,615.46
06/28           CCD DEBIT, PAYCHEX EIB INVOICE X93061700019350                                   750.68
                                                                         Subtotal:           640,753.08


DAILY BALANCE SUMMARY
DATE                              BALANCE                 DATE                                 BALANCE
05/31                             6,214.28                06/14                               7,903.75
06/01                             5,587.00                06/17                             175,788.73
06/02                             6,060.66                06/18                               8,903.75
06/04                             7,060.66                06/21                               8,230.16
06/07                             6,349.71                06/24                             187,521.19
06/08                             7,933.81                06/25                               9,533.13
06/11                             8,614.96                06/28                              10,250.98




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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   96 WYTHE AVE                                         Statement Period:    Jun 01 2021-Jun 30 2021
   BROOKLYN NY 11249                                    Cust Ref #:            4380021611-717-T-###
                                                        Primary Account #:              438-0021611




TD Business Convenience Plus
THE WILLIAMSBURG HOTEL BK LLC                                                       Account # 438-0021611


ACCOUNT SUMMARY
Beginning Balance                   170,888.94                Average Collected Balance          174,926.82
Electronic Deposits                 137,351.26                Interest Earned This Period              0.00
                                                              Interest Paid Year-to-Date               0.00
Electronic Payments                 207,648.35                Annual Percentage Yield Earned         0.00%
Service Charges                           3.00                Days in Period                             30
Ending Balance                      100,588.85




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE      DESCRIPTION                                                                       AMOUNT
06/15             eTransfer Credit, Online Xfer                                                  137,351.26
                      Transfer from CK 4384910935

                                                                             Subtotal:           137,351.26
Electronic Payments
POSTING DATE      DESCRIPTION                                                                       AMOUNT
06/21             CCD DEBIT, NYS DTF SALES TAX PAYMNT 000000071311931                            207,648.35
                                                                             Subtotal:           207,648.35
Service Charges
POSTING DATE      DESCRIPTION                                                                       AMOUNT
06/30             PAPER STATEMENT FEE                                                                   3.00
                                                                             Subtotal:                  3.00


DAILY BALANCE SUMMARY
DATE                                  BALANCE                 DATE                                 BALANCE
05/31                               170,888.94                06/21                             100,591.85
06/15                               308,240.20                06/30                             100,588.85




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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                                  declaration
                                         Pg 21 of
                                                Pg39
                                                   33 of 86
    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       100,588.85
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                              T    STATEMENT OF ACCOUNT



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   THE WILLIAMSBURG HOTEL                          Statement Period:    Jun 01 2021-Jun 30 2021
   DIP CASE 21-22108 SDNY                          Cust Ref #:            4384910927-039-T-###
   3284 N 29TH CT                                  Primary Account #:              438-4910927
   HOLLYWOOD FL 33020




Chapter 11 Checking
96 WYTHE ACQUISITION LLC DBA                                                   Account # 438-4910927
THE WILLIAMSBURG HOTEL
DIP CASE 21-22108 SDNY


ACCOUNT SUMMARY
Beginning Balance                 58,810.19              Average Collected Balance           58,810.19
                                                         Interest Earned This Period              0.00
Ending Balance                    58,810.19              Interest Paid Year-to-Date               0.00
                                                         Annual Percentage Yield Earned         0.00%
                                                         Days in Period                             30


DAILY ACCOUNT ACTIVITY
No Transactions this Statement Period




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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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                                                Pg39
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    How to Balance your Account                                                                                                               Page:                                   2 of 2

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         58,810.19
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                              T     STATEMENT OF ACCOUNT



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   THE WILLIAMSBURG HOTEL                           Statement Period:    Jun 01 2021-Jun 30 2021
   DIP CASE 21-22108-RRD SDNY                       Cust Ref #:            4384910935-039-T-###
   3284 N 29TH CT                                   Primary Account #:              438-4910935
   HOLLYWOOD FL 33020




Chapter 11 Checking
96 WYTHE ACQUISITION LLC DBA                                                    Account # 438-4910935
THE WILLIAMSBURG HOTEL
DIP CASE 21-22108-RRD SDNY


ACCOUNT SUMMARY
Beginning Balance                399,494.91               Average Collected Balance          833,020.35
Electronic Deposits            2,476,172.05               Interest Earned This Period              0.00
Other Credits                      3,877.72               Interest Paid Year-to-Date               0.00
                                                          Annual Percentage Yield Earned         0.00%
Electronic Payments            1,588,435.41               Days in Period                             30
Ending Balance                 1,291,109.27




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                    AMOUNT
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            43,580.87
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            39,140.71
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                            30,933.89
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            27,202.98
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            26,412.42
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                            22,409.91
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                            12,036.65
06/01            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                             2,557.67
06/02            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            54,764.71
06/02            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                             8,422.40
06/03            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            57,413.86
06/03            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                            21,746.28
06/04            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            30,047.21
06/04            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                             1,089.58
06/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            43,741.40
06/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            35,260.27
06/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            28,598.91
06/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                            26,697.23
06/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                            14,982.08
06/07            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                             7,923.45
06/08            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                            62,464.10
06/08            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            36,712.91
06/09            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            71,470.82
06/09            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                            23,266.61
06/10            CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                            64,865.17


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xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                   2 of 6

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     1,291,109.27
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
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    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
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                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
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                                                     STATEMENT OF ACCOUNT


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   THE WILLIAMSBURG HOTEL                            Page:                                  3 of 6
   DIP CASE 21-22108-RRD SDNY                        Statement Period:    Jun 01 2021-Jun 30 2021
                                                     Cust Ref #:            4384910935-039-T-###
                                                     Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                      AMOUNT
06/10           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              21,680.62
06/11           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              26,439.29
06/11           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               3,764.35
06/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              67,167.39
06/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              40,957.00
06/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              37,695.14
06/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              37,251.04
06/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              24,972.14
06/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              17,205.27
06/15           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              80,706.93
06/15           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              46,436.04
06/16           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              52,565.95
06/16           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              21,391.58
06/17           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              37,553.97
06/17           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               2,548.08
06/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              39,350.90
06/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              22,399.34
06/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              62,657.19
06/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              50,786.45
06/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              46,154.15
06/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              38,449.99
06/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              16,873.67
06/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              15,097.95
06/22           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              47,358.48
06/23           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                             115,916.14
06/23           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              62,323.25
06/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              50,258.49
06/24           CCD DEPOSIT, EVENTBRITE, INC. EDI PYMNTS *-***57009                             9,045.95
06/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               1,724.75
06/25           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              77,187.20
06/25           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               6,249.21
06/25           ACH DEPOSIT, SQUARE INC SDV-VRFY T****79745961                                      0.01
06/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              52,717.07
06/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              52,687.28
06/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              46,853.42
06/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              40,730.03
06/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              26,756.66
06/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              17,403.89
06/28           ACH DEPOSIT, PULSD INC. BILL PMT ****910935                                     6,528.20


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                                                    Cust Ref #:            4384910935-039-T-###
                                                    Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                     AMOUNT
06/28           ACH DEPOSIT, SQUARE INC 210628P2 L****36490666                                   952.75
06/28           ACH DEPOSIT, SQUARE INC 210628P2 L****36490667                                    85.69
06/29           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                             69,039.33
06/29           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                             51,035.85
06/30           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                             69,824.05
06/30           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                             67,647.83
                                                                         Subtotal:         2,476,172.05
Other Credits
POSTING DATE    DESCRIPTION                                                                     AMOUNT
06/07           WIRE TRANSFER INCOMING, WARDROBE TECHNOLOGIES INC. DBA                         2,486.62
06/14           WIRE TRANSFER INCOMING, GREEN SKY LABS INC 101 2275 U                          1,391.10
                                                                         Subtotal:             3,877.72
Electronic Payments
POSTING DATE    DESCRIPTION                                                                     AMOUNT
06/01           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                40.52
06/01           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                38.11
06/02           eTransfer Debit, Online Xfer                                                  24,410.03
                  Transfer to CK 4380021596
06/02           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                               182.11
06/03           CCD DEBIT, FISERV MERCHANT INTERCHNG ****01938889                             22,293.17
06/03           CCD DEBIT, FISERV MERCHANT INTERCHNG ****03671884                              8,328.11
06/03           CCD DEBIT, FISERV MERCHANT DISCOUNT ****01938889                               1,677.04
06/03           CCD DEBIT, FISERV MERCHANT FEE ****01938889                                      841.85
06/03           CCD DEBIT, FISERV MERCHANT DISCOUNT ****03671884                                 691.47
06/03           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                      485.67
06/03           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                39.20
06/04           eTransfer Debit, Online Xfer                                                 130,576.17
                  Transfer to CK 4380021603
06/04           eTransfer Debit, Online Xfer                                                  43,937.87
                  Transfer to CK 4380021596
06/07           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                               215.60
06/08           eTransfer Debit, Online Xfer                                                  69,331.73
                  Transfer to CK 4380021596
06/09           ELECTRONIC PMT-WEB, FIRST INSURANCE INSURANCE ***-*3537124                    18,495.84
06/09           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                               351.13
06/10           eTransfer Debit, Online Xfer                                                  46,869.25
                  Transfer to CK 4380021596
06/10           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                        0.80
06/11           eTransfer Debit, Online Xfer                                                 163,511.31
                  Transfer to CK 4380021603

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DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                      AMOUNT
06/11           eTransfer Debit, Online Xfer                                                    9,133.64
                 Transfer to CK 4380021596
06/14           eTransfer Debit, Online Xfer                                                   22,152.44
                 Transfer to CK 4380021596
06/14           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                129.99
06/14           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                 33.76
06/15           eTransfer Debit, Online Xfer                                                  137,351.26
                 Transfer to CK 4380021611
06/15           ACH DEBIT, CON ED OF NY INTELL CK ****10002602008                              25,925.81
06/15           eTransfer Debit, Online Xfer                                                   12,709.41
                 Transfer to CK 4380021596
06/15           ACH DEBIT, CON ED OF NY INTELL CK ****10002608005                               3,235.00
06/15           ACH DEBIT, CON ED OF NY INTELL CK ****10002609003                               2,985.05
06/15           ACH DEBIT, CON ED OF NY INTELL CK ****10002604004                                 736.08
06/15           ACH DEBIT, CON ED OF NY INTELL CK ****10002606009                                 728.17
06/16           eTransfer Debit, Online Xfer                                                   34,157.08
                 Transfer to CK 4380021596
06/16           eTransfer Debit, Online Xfer                                                   30,738.27
                 Transfer to CK 4380021596
06/17           eTransfer Debit, Online Xfer                                                  167,884.98
                 Transfer to CK 4380021603
06/17           eTransfer Debit, Online Xfer                                                   41,935.62
                 Transfer to CK 4380021596
06/17           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                103.08
06/17           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                         0.44
06/18           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                 62.08
06/21           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                150.00
06/22           eTransfer Debit, Online Xfer                                                   43,251.86
                 Transfer to CK 4380021596
06/22           eTransfer Debit, Online Xfer                                                   21,628.79
                 Transfer to CK 4380021596
06/22           eTransfer Debit, Online Xfer                                                   21,404.40
                 Transfer to CK 4380021596
06/23           eTransfer Debit, Online Xfer                                                   51,323.11
                 Transfer to CK 4380021596
06/23           eTransfer Debit, Online Xfer                                                    7,802.41
                 Transfer to CK 4380021596
06/23           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                282.44
06/24           eTransfer Debit, Online Xfer                                                  178,988.06
                 Transfer to CK 4380021603
06/25           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                                   164.25
06/25           ELECTRONIC PMT-WEB, SQUARE INC SDV-VRFY T****79745962                                  0.01


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                                                   Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                    AMOUNT
06/28           eTransfer Debit, Online Xfer                                                 48,447.38
                 Transfer to CK 4380021596
06/28           eTransfer Debit, Online Xfer                                                 46,744.23
                 Transfer to CK 4380021596
06/28           eTransfer Debit, Online Xfer                                                 27,048.48
                 Transfer to CK 4380021596
06/28           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****01938889                              343.91
06/29           eTransfer Debit, Online Xfer                                                 82,176.55
                 Transfer to CK 4380021596
06/29           eTransfer Debit, Online Xfer                                                 36,124.13
                 Transfer to CK 4380021596
06/30           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                 236.26
                                                                        Subtotal:         1,588,435.41


DAILY BALANCE SUMMARY
DATE                               BALANCE               DATE                                 BALANCE
05/31                           399,494.91               06/16                             863,014.52
06/01                           603,691.38               06/17                             693,192.45
06/02                           642,286.35               06/18                             754,880.61
06/03                           687,089.98               06/21                             984,750.01
06/04                           543,712.73               06/22                             945,823.44
06/07                           703,187.09               06/23                           1,064,654.87
06/08                           733,032.37               06/24                             946,696.00
06/09                           808,922.83               06/25                           1,029,968.16
06/10                           848,598.57               06/28                           1,152,099.15
06/11                           706,157.26               06/29                           1,153,873.65
06/14                           910,480.15               06/30                           1,291,109.27
06/15                           853,952.34




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   BROOKLYN NY 11249                                    Cust Ref #:            4380021596-719-T-###
                                                        Primary Account #:              438-0021596




TD Business Premier Checking
THE WILLIAMSBURG HOTEL BK LLC                                                       Account # 438-0021596


ACCOUNT SUMMARY
Beginning Balance                    74,829.60                Average Collected Balance           51,661.35
Electronic Deposits                 724,624.95                Interest Earned This Period              0.00
Other Credits                        20,056.89                Interest Paid Year-to-Date               0.00
                                                              Annual Percentage Yield Earned         0.00%
Checks Paid                         325,470.69                Days in Period                             30
Electronic Payments                 274,326.29
Other Withdrawals                    54,448.64
Ending Balance                      165,265.82



DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE     DESCRIPTION                                                                        AMOUNT
06/02            eTransfer Credit, Online Xfer                                                    24,410.03
                      Transfer from CK 4384910935
06/04            eTransfer Credit, Online Xfer                                                    43,937.87
                      Transfer from CK 4384910935
06/08            ACH RETURNED ITEM, ALL BORO CONSULT SALE                                          1,700.00
06/08            ACH RETURNED ITEM, AMEX EPAYMENT ACH PMT W8612                                    1,112.55
06/08            ACH RETURNED ITEM, NATIONAL GRID NY UTILITYPAY 00021011451                          485.72
06/08            eTransfer Credit, Online Xfer                                                    69,331.73
                      Transfer from CK 4384910935
06/10            eTransfer Credit, Online Xfer                                                    46,869.25
                      Transfer from CK 4384910935
06/11            eTransfer Credit, Online Xfer                                                     9,133.64
                      Transfer from CK 4384910935
06/14            eTransfer Credit, Online Xfer                                                    22,152.44
                      Transfer from CK 4384910935
06/15            eTransfer Credit, Online Xfer                                                    12,709.41
                      Transfer from CK 4384910935
06/16            eTransfer Credit, Online Xfer                                                    34,157.08
                      Transfer from CK 4384910935
06/16            eTransfer Credit, Online Xfer                                                    30,738.27
                      Transfer from CK 4384910935
06/17            eTransfer Credit, Online Xfer                                                    41,935.62
                      Transfer from CK 4384910935
06/22            eTransfer Credit, Online Xfer                                                    43,251.86
                      Transfer from CK 4384910935
06/22            eTransfer Credit, Online Xfer                                                    21,628.79
                      Transfer from CK 4384910935



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    How to Balance your Account                                                                                                               Page:                                2 of 10

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       165,265.82
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
06/22            eTransfer Credit, Online Xfer                                                                                            21,404.40
                   Transfer from CK 4384910935
06/23            eTransfer Credit, Online Xfer                                                                                            51,323.11
                   Transfer from CK 4384910935
06/23            eTransfer Credit, Online Xfer                                                                                              7,802.41
                   Transfer from CK 4384910935
06/28            eTransfer Credit, Online Xfer                                                                                            48,447.38
                   Transfer from CK 4384910935
06/28            eTransfer Credit, Online Xfer                                                                                            46,744.23
                   Transfer from CK 4384910935
06/28            eTransfer Credit, Online Xfer                                                                                            27,048.48
                   Transfer from CK 4384910935
06/29            eTransfer Credit, Online Xfer                                                                                            82,176.55
                   Transfer from CK 4384910935
06/29            eTransfer Credit, Online Xfer                                                                                            36,124.13
                   Transfer from CK 4384910935

                                                                                                             Subtotal:                  724,624.95
Other Credits
POSTING DATE     DESCRIPTION                                                                                                                    AMOUNT
06/08            RETURNED ITEM                                                                                                              3,498.48
06/08            RETURNED ITEM                                                                                                              3,300.00
06/08            RETURNED ITEM                                                                                                              2,344.24
06/08            RETURNED ITEM                                                                                                              2,193.41
06/08            RETURNED ITEM                                                                                                              2,100.00
06/08            RETURNED ITEM                                                                                                              1,923.00
06/08            RETURNED ITEM                                                                                                              1,575.00
06/08            RETURNED ITEM                                                                                                                700.00
06/08            RETURNED ITEM                                                                                                                632.47
06/08            RETURNED ITEM                                                                                                                621.39
06/08            RETURNED ITEM                                                                                                                400.00
06/08            RETURNED ITEM                                                                                                                290.80
06/08            RETURNED ITEM                                                                                                                278.10
06/08            RETURNED ITEM                                                                                                                200.00
                                                                                                             Subtotal:                    20,056.89
Checks Paid      No. Checks: 186   *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE            SERIAL NO.                  AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
06/02            1027                       477.96                                  06/14                     1078*                             735.41
06/01            1038*                        56.70                                 06/02                     1084*                             955.92
06/28            1046*                   1,260.00                                   06/01                     1098*                         3,260.25
06/14            1047                       903.23                                  06/03                     1103*                              40.00

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                                                                      Primary Account #:                        438-0021596




DAILY ACCOUNT ACTIVITY
Checks Paid (continued)     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE          SERIAL NO.             AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
06/04          1104                    80.00                                 06/09                     1191                              649.00
06/07          1108*                 632.47                                  06/11                     1192                          2,100.00
06/07          1109                  621.39                                  06/08                     1193                              800.00
06/07          1111*              7,805.47                                   06/07                     1194                          2,344.24
06/17          1113*                 429.33                                  06/07                     1195                          7,665.61
06/22          1149*              1,466.07                                   06/02                     1196                              871.00
06/01          1150                  646.72                                  06/07                     1197                              400.00
06/24          1154*                 225.62                                  06/07                     1198                          7,068.91
06/03          1155               4,000.00                                   06/02                     1200*                             495.74
06/03          1157*              2,931.00                                   06/01                     1202*                         1,923.00
06/02          1159*              1,700.00                                   06/01                     1203                              550.40
06/18          1160                  500.00                                  06/01                     1204                          4,668.02
06/01          1162*                 708.00                                  06/14                     1205                              550.00
06/03          1164*                 672.20                                  06/07                     1208*                         3,498.48
06/01          1168*              5,000.00                                   06/14                     1209                          1,900.00
06/01          1170*                 400.00                                  06/25                     1211*                         4,278.19
06/01          1171                  400.00                                  06/09                     1212                          3,631.02
06/04          1172                  300.00                                  06/04                     1213                          1,485.04
06/02          1173                  600.00                                  06/07                     1214                              200.00
06/04          1174               1,994.39                                   06/07                     1215                              700.00
06/11          1175               4,339.34                                   06/07                     1216                          1,575.00
06/07          1176               2,193.41                                   06/09                     1217                              600.00
06/14          1177                  979.88                                  06/14                     1218                              500.00
06/04          1178               2,159.32                                   06/04                     1219                          2,500.00
06/03          1179               2,186.75                                   06/07                     1220                          4,668.01
06/04          1180               2,068.62                                   06/08                     1221                              435.12
06/07          1181               5,852.03                                   06/07                     1222                          2,100.00
06/08          1183*                 519.68                                  06/09                     1223                          1,069.44
06/03          1184                    38.40                                 06/10                     1224                          1,000.00
06/07          1185                  290.80                                  06/11                     1226*                         7,005.82
06/16          1187*              1,911.84                                   06/07                     1228*                         3,300.00
06/04          1188                  367.52                                  06/09                     1229                          3,516.71
06/03          1189               2,501.10                                   06/10                     1230                          2,177.46
06/04          1190               1,246.66                                   06/07                     1231                          1,923.00


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DAILY ACCOUNT ACTIVITY
Checks Paid (continued)     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE          SERIAL NO.             AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
06/15          1232               1,976.56                                   06/15                     1269                              758.68
06/09          1233                  228.40                                  06/15                     1270                              604.66
06/07          1234                  278.10                                  06/11                     1271                              742.36
06/09          1235                  528.03                                  06/15                     1272                              338.29
06/14          1236                  400.00                                  06/14                     1273                          1,282.00
06/11          1237                  500.00                                  06/22                     1274                              355.72
06/14          1238                  100.00                                  06/14                     1275                              207.17
06/15          1239                  472.00                                  06/17                     1276                          1,200.35
06/09          1242*                 851.18                                  06/23                     1277                          4,690.74
06/14          1243                  871.00                                  06/14                     1279*                             450.00
06/15          1244                  400.00                                  06/25                     1280                          1,125.00
06/10          1245               2,473.08                                   06/16                     1281                              400.00
06/14          1246                  189.61                                  06/28                     1282                              400.00
06/14          1247                  200.00                                  06/15                     1283                          4,684.72
06/09          1248                  800.00                                  06/15                     1284                              392.20
06/18          1249                  500.00                                  06/22                     1285                              767.00
06/11          1250                  500.00                                  06/15                     1286                          4,158.65
06/21          1251                  909.83                                  06/22                     1287                          1,900.00
06/11          1253*                 632.47                                  06/22                     1288                          8,215.20
06/11          1254                  621.39                                  06/18                     1290*                             972.00
06/15          1255                  290.80                                  06/23                     1292*                         3,568.06
06/15          1256                  400.00                                  06/18                     1293                          2,895.25
06/15          1257               2,193.41                                   06/21                     1294                          3,227.58
06/21          1258               2,344.24                                   06/18                     1295                          5,000.00
06/14          1259               3,498.48                                   06/22                     1296                          1,968.27
06/14          1260                  200.00                                  06/18                     1297                          8,937.64
06/18          1261                  700.00                                  06/22                     1298                          2,687.49
06/11          1262               1,575.00                                   06/21                     1299                          2,186.75
06/16          1263               2,100.00                                   06/21                     1300                          1,754.40
06/11          1264               3,320.00                                   06/23                     1302*                         4,317.39
06/11          1265                  278.10                                  06/23                     1303                              468.16
06/14          1266               1,923.00                                   06/21                     1305*                             947.93
06/11          1267                  684.00                                  06/21                     1306                              473.66
06/11          1268               5,500.00                                   06/21                     1307                              636.17


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DAILY ACCOUNT ACTIVITY
Checks Paid (continued)       *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE           SERIAL NO.              AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
06/28           1308                   590.00                                  06/28                     1345*                             750.00
06/23           1309                1,015.80                                   06/28                     1346                              800.00
06/25           1310                   999.00                                  06/28                     1347                          1,000.00
06/23           1311                5,399.13                                   06/22                     1351*                         1,780.11
06/25           1312                   907.29                                  06/16                     1352                          6,000.00
06/24           1313                7,005.82                                   06/23                     1354*                             250.00
06/18           1314                   992.59                                  06/29                     1356*                             303.85
06/21           1315                1,923.00                                   06/22                     1357                          1,135.00
06/21           1316                   356.80                                  06/25                     1358                              396.00
06/28           1317                   644.72                                  06/22                     1359                              235.00
06/21           1318                   800.00                                  06/22                     1360                               55.00
06/28           1319                   150.00                                  06/22                     1361                              675.95
06/22           1320                   300.00                                  06/25                     1366*                         1,500.00
06/28           1322*                  350.00                                  06/28                     1367                          2,351.70
06/23           1323                   600.00                                  06/28                     1369*                         2,414.53
06/25           1325*               3,264.99                                   06/30                     1372*                         1,080.00
06/25           1326                5,484.84                                   06/30                     1373                          1,600.00
06/24           1330*               2,624.50                                   06/30                     1382*                             871.00
06/29           1331                2,805.42                                   06/30                     1392*                         3,243.26
06/25           1342*               6,000.00                                   06/30                     1404*                             508.38
06/29           1343                1,050.00                                   06/04                     3186*                             498.15
                                                                                                        Subtotal:                  325,470.69
Electronic Payments
POSTING DATE    DESCRIPTION                                                                                                                AMOUNT
06/01           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                  7,549.39
06/01           ELECTRONIC PMT-WEB, SORBIS WEBPAYMENT                                                                                 6,372.50
06/01           TD BILL PAY SERV, BANK OF AMERICA ONLINE PMT TDB212585026POS                                                          1,000.00
06/01           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                                                          1,000.00
06/01           CCD DEBIT, AMEX EPAYMENT ACH PMT W6866                                                                                  812.54
06/02           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000667268                                                                   14,057.85
06/02           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                  3,782.75
06/02           CCD DEBIT, EMPIRE BLUE INDIVIDUAL 7113924                                                                             2,214.48
06/02           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                  1,620.09
06/02           CCD DEBIT, ASCENTIUMCAPITAL LEASECHG 173752                                                                           1,249.32
06/02           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                  1,029.93
06/02           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                    326.49

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Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                    AMOUNT
06/02           CCD DEBIT, MERCHANT SERVICE MERCH FEE 8079292879                                287.52
06/02           ELECTRONIC PMT-WEB, VERIZON PAYMENTREC 2515388510001                            199.20
06/03           CCD DEBIT, AMEX EPAYMENT ACH PMT W4876                                        1,668.69
06/04           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                          1,309.48
06/04           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000121161                              787.30
06/04           CCD DEBIT, PHASE THREE CAPI SIGONFILE PZVGJG                                    535.93
06/07           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                          4,607.60
06/07           DEBIT CARD PURCHASE, AUT 060421 VISA DDA PUR                                  2,808.95
                 WF WAYFAIR 3560111651   HTTPSWWW WAYF * MA
                 4085404027733868
06/07           CCD DEBIT, ALL BORO CONSULT SALE                                              1,700.00
06/07           CCD DEBIT, AMEX EPAYMENT ACH PMT W8612                                        1,112.55
06/07           CCD DEBIT, NATIONAL GRID NY UTILITYPAY 00021011451                              485.72
06/08           CTX DEBIT, UNITED HEALTHCAR EDI PAYMTS 636325762788                           5,396.28
06/08           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                          1,615.05
06/08           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                          1,319.30
06/08           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 7325427                          826.77
06/08           CCD DEBIT, AMEX EPAYMENT ACH PMT W0166                                          576.88
06/09           ACH DEBIT, CLEANSLATE PURCHASE                                                1,193.03
06/09           TD BILL PAY SERV, BANK OF AMERICA ONLINE PMT TDB212585026POS                  1,000.00
06/09           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                  1,000.00
06/10           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000122319                            2,035.90
06/10           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 6483310                        1,382.48
06/10           CCD DEBIT, AMEX EPAYMENT RETRY PYMT W8612                                     1,112.55
06/11           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                  4,600.49
06/11           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000670027                            3,566.00
06/11           CCD DEBIT, AMEX EPAYMENT ACH PMT W5740                                        2,406.59
06/11           TD BILL PAY SERV, BANK OF AMERICA ONLINE PMT TDB212585026POS                  2,356.68
06/11           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            339.88
06/14           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000670496                           14,624.22
06/14           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                          6,152.41
06/14           CCD DEBIT, WESTGUARD INS CO INS PREM WIWC291833                               1,375.81
06/15           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                          1,575.30
06/15           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                          1,493.67
06/15           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            925.92
06/16           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000671157                              427.96
06/17           CCD DEBIT, BRONX LOBSTER PL ACH 201-707-4847                                  3,775.90
06/17           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 7721975                        3,217.09
06/17           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000123466                            2,544.90
06/17           CCD DEBIT, DAVID BOWLER LLC CORP COLL THE WILLIAMSBUR                           306.00

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Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                      AMOUNT
06/18           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            3,983.87
06/18           ELECTRONIC PMT-WEB, SORBIS WEBPAYMENT                                           2,915.58
06/18           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000671776                                264.00
06/18           ACH DEBIT, CON ED OF NY INTELL CK 622010002605001                                  32.73
06/18           ACH DEBIT, CON ED OF NY INTELL CK 622010002607007                                  32.73
06/18           ACH DEBIT, CON ED OF NY INTELL CK 622010002603006                                  32.73
06/21           CCD DEBIT, EXPEDIA, INC. 10074865_9 127000491943                               11,911.64
06/21           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            4,580.34
06/21           TD BILL PAY SERV, BANK OF AMERICA ONLINE PMT TDB212585026POS                    2,000.00
06/21           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                    2,000.00
06/21           CCD DEBIT, INTUIT QUICKBOOKS 3635696                                              383.24
06/22           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000672382                             21,404.40
06/22           TD BILL PAY SERV, CHASE CARD SERV ONLINE PMT TDB212585026POS                    5,552.86
06/22           CCD DEBIT, AMEX EPAYMENT ACH PMT W8956                                          2,214.78
06/22           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000672444                              1,678.00
06/22           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,350.56
06/22           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,262.49
06/22           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,012.27
06/22           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 7472364                            902.68
06/22           CCD DEBIT, ALLIANCE ACHDEBITS 000102316653001                                     324.85
06/23           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000672857                              6,930.61
06/23           DEBIT CARD PURCHASE, AUT 062121 VISA DDA PUR                                    2,740.35
                 MICROSOFT STORE      800 6427676 * WA
                 4085404027733868
06/23           CCD DEBIT, MICROS RETAIL SY ACH DEBIT 5292489706                                  994.99
06/24           TD BILL PAY SERV, BANK OF AMERICA ONLINE PMT TDB212585026POS                    7,802.41
06/24           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000124756                              1,683.00
06/24           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 8691031                          1,166.76
06/25           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            4,445.46
06/25           ELECTRONIC PMT-WEB, NYSIF WEB_PAY 00430616062421                                3,085.26
06/25           CCD DEBIT, AMEX EPAYMENT ACH PMT W1884                                            967.41
06/25           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                              648.05
06/28           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            4,834.92
06/28           ELECTRONIC PMT-WEB, TRIPADVISOR ADVERTSING 7420699                                788.33
06/28           DEBIT CARD PURCHASE, AUT 062421 VISA DDA PUR                                      734.91
                 PAYPAL PRNTONBROAD     402 935 7733 * NY
                 4085404027733868
06/29           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000674177                             23,281.20
06/29           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 4620133                          8,930.91
06/29           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000125733                              3,200.00


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DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                      AMOUNT
06/29           CCD DEBIT, AMEX EPAYMENT ACH PMT W2710                                          2,788.72
06/29           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,952.59
06/29           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,554.30
06/29           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                            1,182.14
06/30           ELECTRONIC PMT-WEB, SORBIS WEBPAYMENT                                           5,356.46
06/30           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 3695900                          1,298.82
06/30           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 3696027                            453.60
                                                                          Subtotal:           274,326.29
Other Withdrawals
POSTING DATE    DESCRIPTION                                                                      AMOUNT
06/02           WIRE TRANSFER OUTGOING, Mint Development Corp                                   3,275.00
06/02           WIRE TRANSFER OUTGOING, Janover LLC                                             1,337.94
06/02           WIRE TRANSFER FEE                                                                  30.00
06/02           WIRE TRANSFER FEE                                                                  30.00
06/04           WIRE TRANSFER OUTGOING, Aplbc Ltd                                               5,200.00
06/04           WIRE TRANSFER OUTGOING, Mint Development Corp                                   3,537.50
06/04           WIRE TRANSFER FEE                                                                  50.00
06/04           WIRE TRANSFER FEE                                                                  30.00
06/08           OVERDRAFT RET                                                                     105.00
06/08           OVERDRAFT PD                                                                       70.00
06/08           STOP PAYMENT CHG(S), STOP ITEM                                                     30.00
06/10           WIRE TRANSFER OUTGOING, Mint Development Corp                                   3,515.00
06/10           WIRE TRANSFER FEE                                                                  30.00
06/11           WIRE TRANSFER OUTGOING, Ralph Ervin                                               232.99
06/11           WIRE TRANSFER FEE                                                                  30.00
06/17           WIRE TRANSFER OUTGOING, Sure Rifka Buls                                         1,500.00
06/17           WIRE TRANSFER OUTGOING, Good Design                                               160.00
06/17           WIRE TRANSFER FEE                                                                  50.00
06/17           WIRE TRANSFER FEE                                                                  50.00
06/18           WIRE TRANSFER OUTGOING, Mint Development Corp                                   3,515.00
06/18           WIRE TRANSFER FEE                                                                  30.00
06/22           WIRE TRANSFER OUTGOING, HA Clarke, LLC                                          8,071.25
06/22           WIRE TRANSFER FEE                                                                  30.00
06/23           WIRE TRANSFER OUTGOING, Kassatex Inc.                                           9,989.46
06/23           WIRE TRANSFER OUTGOING, T-Y Group, LLC                                          3,730.85
06/23           WIRE TRANSFER FEE                                                                  30.00
06/23           WIRE TRANSFER FEE                                                                  30.00
06/25           WIRE TRANSFER OUTGOING, Mint Development Corp                                   3,575.00
06/25           WIRE TRANSFER FEE                                                                  30.00

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Other Withdrawals (continued)
POSTING DATE    DESCRIPTION                                                                      AMOUNT
06/29           WIRE TRANSFER OUTGOING, Mint Development Corp                                     760.00
06/29           WIRE TRANSFER OUTGOING, Luxury GS LLC                                             672.20
06/29           WIRE TRANSFER FEE                                                                  30.00
06/29           WIRE TRANSFER FEE                                                                  30.00
06/30           WIRE TRANSFER OUTGOING, Onyx Centersource AS                                    4,601.45
06/30           STOP PAYMENT CHG(S), STOP ITEM                                                     30.00
06/30           WIRE TRANSFER FEE                                                                  30.00
                                                                          Subtotal:            54,448.64


DAILY BALANCE SUMMARY
DATE                             BALANCE                   DATE                                 BALANCE
05/31                            74,829.60                 06/16                              70,350.63
06/01                            40,482.08                 06/17                              99,052.68
06/02                            30,350.92                 06/18                              67,748.56
06/03                            16,312.78                 06/21                              31,312.98
06/04                            36,100.74                 06/22                              52,253.08
06/07                           -27,731.00                 06/23                              66,623.06
06/08                            53,261.81                 06/24                              46,114.95
06/09                            38,195.00                 06/25                               9,408.46
06/10                            71,337.78                 06/28                             114,579.44
06/11                            39,140.31                 06/29                             184,338.79
06/14                            24,250.53                 06/30                             165,265.82
06/15                            16,295.08




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               HOTEL MANAGEMENT AND SERVICES AGREEMENT



                                     between



                             96 Wythe Acquisition LLC
                                    ("Owner")

                                       and

                          The Williamsburg Hotel BK LLC
                                    ("Manager")




                                November 21, 2017
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                This HOTEL MANAGEMENT AND SERVICES AGREEMENT is executed as of
  November 21, 20 I 7 ("Effective Date"), by and between 96 Wythe Acquisition, a New York limited liability
  company ("Owner"), and The Williamsburg Hotel BK, LLC, a New York limited liability company
  ("Manager").
                                                 RECITALS:
                   A.      Owner is the owner of a property located at 96 Wythe Avenue, Brooklyn, New
 York (the "Property"), and has developed a new building on the Property, including 147 guest rooms, lobby,
 restaurant, bars, rooftop, and other amenities (the "Hotel");
               B.       Manager has overseen design, branding, programming, furnishing, promoting,
 managing and operating the property during the pre-development and development phase; and
               C.       Owner desires to use the Williamsburg Hotel brand and to retain Manager to brand,
 manage and operate the Hotel in accordance with this Agreement.
                 NOW, THEREFORE, for and in consideration of the mutual covenants, conditions,
 agreements and obligations hereinafter set forth and other good and valuable consideration, the receipt and
 sufficiency of which being hereby acknowledged by the parties hereto, Owner and Manager agree as
 follows:
                                                 ARTICLE I

                                               DEFINITIONS
         Section 1.01     Definitions. As used herein, the following terms shall have the indicated meanings:
         Affiliate means, with respect to any Person, any other Person that directly or indirectly through one
or more intermediaries controls or is controlled by or is under common control with such Person. For
purposes of this definition, the tenn "control," when used with respect to any Person, means the power to
direct the management and policies of such Person, directly or indirectly, whether through the ownership
of voting securities, by contract or otherwise, and the terms "controlling" and "controlled" have meanings
correlative to the foregoing.
        Agreement means this Hotel Management Agreement and all amendments, modifications,
supplements, consolidations, extensions and revisions to this Hotel Management Agreement from time to
time approved in writing by Owner and Manager.
        Books and Records means the books and records of account maintained by the Manager necessary
to prepare customary accounting records and financial reports in connection with the operation of the Hotel,
but expressly excluding any and all sales and marketing files, guest lists and profiles (including Manager
Owned Customer Lists), guest histories, detailed employee records and all standard Manager's materials.
        Brand Name means The Williamsburg Hotel.
         Budget means a proposed budget for the Hotel setting forth all anticipated income and expenditures
to be received or incurred for any Fiscal Year and the marketing and operating plan for any Fiscal Year.
       Competitor means a Person engaged, directly or indirectly through an Affiliate, in the business of
owning, operating, licensing (as licensor), franchising (as franchisor), or managing a hotel brand or lodging
system of hotels that is competitive with Manager or its Affiliates.
         Emergency Repairs means, without limitation, repairs which, in Manager's good faith reasonable
judgment are necessary to prevent (a) imminent personal injury, (b) imminent damage to the property of
third parties, (c) imminent damage to the Hotel, (d) imminent loss or diminution of any material licenses or
right to operate the Hotel for its intended purposes, (e) imminent loss or material diminution ofany parking,
ingress, egress or access relating to the Hotel or (f) a violation of any material Legal Requirements.
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           FF&E means all furniture, furnishings, wall coverings, fixtures, equipment and systems (except
  equipment and fixtures attached to and fonning a part of the Improvements) located at the Hotel and
   required for the operation of the Improvements as a hotel, including (a) office furnishings and equipment,
  (b) specialized hotel equipment necessary for the operation of any portion of the Improvements as a hotel,
  including equipment for kitchens, laundries, dry cleaning facilities, bars, restaurants, dining rooms, public
  rooms, commercial spaces, and recreational facilities, including Operating Equipment, and all artwork, (c)
  all other furnishings and equipment (except equipment and fixtures attached to and forming a part of the
  Improvements) as necessary or desirable in the operation of the Hotel in accordance with the tenns and
  conditions set forth in this Agreement.
          Fiscal Year means (i) the period commencing on the first date that the Hotel generates any Gross
  Revenues and ending on December 3 1 of the calendar year in which such date occurs, and (ii) any
  successive yearly period (beginning January I and ending December 3 I) thereafter.
           Force Majeure Event means (a) strikes, labor lock-outs, other industrial disputes, accidents, need
 to remove Hazardous Substances, inability to procure materials, loss of pennitting or licensing, recession,
 governmental action or restriction, regulation or control, failure of power, water, fuel, electricity or other
 utilities, riots, insurrection, civil commotion, enemy or terrorist action or threat, war, acts of God (including
 inordinately severe weather conditions), fire or other casualty and (b) any other matter, cause or
 circumstances which is beyond the reasonable control of Manager in each case to the extent the same has
 not arisen by reason of any breach by Manager of any of Manager's obligations under this Agreement.
         Gross Revenues means any and all income and proceeds of sales received for the use, occupancy
 or enjoyment of the Hotel or for the sale of any goods, services or other items sold on, or provided from,
the Hotel including all proceeds from insurance and all income received from tenants, transient guests,
licensees, concessionaires, lessees ofretail space, spa and food and beverage service operations at the Hotel
excluding the following: (i) any excise, sales or use taxes or similar government charges collected directly
from patrons or guests, or as a part of the sales price of any goods, services or displays, such as gross
receipts, value added, admission, cabaret or similar or (ii) any security deposits of Hotel tenants, subtenants,
or concessionaires (unless and until applied) and any payments by such tenants, subtenants or
concessionaires for taxes; (iii) proceeds of collection of accounts receivable; (iv) consideration received at
the Hotel for hotel accommodations, goods and services to be provided at other hotels arranged by, for or
on behalf of Manager; and (v) discounts, allowances and refunds or credits to patrons or guests.
        Improvements means all buildings, structures, improvements and bettennents now located or
hereafter constructed on the Property and all fixtures and equipment attached to and fonning a part of such
buildings, structures and improvements (including heating, lighting, plumbing, sanitary sewer, air-
conditioning, laundry, refrigeration, kitchen, elevators and similar items).
        Independent Accountant means a third party independent certified public accounting finnjointly
selected by Owner and Manager.
         Legal Requirements means all present and future laws, statutes, codes, ordinances, orders,
judgments, decrees, injunctions, rules, regulations and requirements pertaining to the Hotel and its operation
including any applicable insurance, environmental, human health and safety, zoning or building, laws or
regulations, Americans with Disabilities Act, fire and fire safety system laws, land use laws, ordinances,
rules or regulations and all covenants, restrictions and conditions now or hereafter of record which may be
applicable to the Hotel or any portion thereof, or to the use, occupancy, possession, operation, maintenance,
alteration, construction or repair of any of the Improvements, including any rules, regulations and
requirements of competent authorities relating to permits, consents, licenses and the like which are required
for the use, occupancy, possession, operation, maintenance, alteration, construction or repair of any of the
Hotel and/or Improvements.




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           Manager Directed Customers means customers ofthe Manager or its Affiliates, whether or not such
  customers have at any point in time stayed at the Hotel, hosted an event or was a guest at a food and
  beverage venue, or who were introduced to the Hotel by Manager or its Affiliates or through their historical
  relationship with Manager or its Affiliates, during the term of this agreement.
           Manager Owned Customer Lists means the customer and guest infonnation, preference and history
  relating to Manager Directed Customers.
           Manager's Expenses means the out-of-pocket expenses and disbursements which are included in
   the Budget and are reasonably and necessarily incurred by Manager in the performance of its obligations
  under this Agreement, provided, however, that the same cost shall not be included in more than one category
  of expense. Manager's Expenses may include the following expenses: travel, business entertainment costs,
  telephone, air express and other incidental expenses. This shall include: (i) reasonable and customary out-
  of-pocket expenses properly incurred by Manager on behalf of the Hotel or Owner in order to faci litate the
  perfonnance of Manager's duties under this Agreement; (ii) other reasonable and customary direct expenses
  incurred by the Manager in connection with the management or operation of the Hotel; (iii) all costs and
 expenses incurred by Manager on behalf of the Hotel or Owner, including out-of-pocket expenses related
 to the time spent by, and travel of, specifically to and from the Hotel in order to facilitate the transition of
 services in connection with the termination of this Agreement, and (iv) third party contracts with providers
 in the name of Manager or its Affiliates for the benefit of the Hotel (such as Google search terms, PMX and
 Synxis) that may be done on a group or individual basis, which amounts shall be included in the Budget
 (the "Third Party Contract Expenses").
         Manager's Fees means, collectively, the Base Management Fee, the Incentive Fee, and any other
 fees payable to the Manager.
         Operating Account means the bank account(s) opened and maintained in Owner's or Manager's
 name, with a banking institution selected by Manager and reasonably approved by Owner, into which all
 income, receipts and proceeds included in the definition of Gross Revenues (without exclusion of any of
 the items excluded from the definition of such tenn) shall be deposited and from which disbursements shall
 be made,
        Operating Equipment means linens, chinaware, glassware, uniforms, utensils and other items of
similar nature.
        Person means an individual (and the heirs, executors, administrators, or other legal representatives
of an individual), a partnership, a corporation, a limited liability company, a government or any department
or agency thereof, a trustee, a trust and any unincorporated organization.
      Personnel means all individuals performing services for the benefit of the Hotel as employees of
Manager or an Affiliate of Manager.
         Personnel Costs means all costs associated with the hiring, employment or tennination of Personnel
(x) located at and providing services directly and exclusively to the Hotel, on behalf of the Manager, (y)
who provide services to the Hotel, and other hotels under developed or operated by Manager and its
Affiliates, on a non-exclusive basis, or (z) who are shared employees of any current or future hotels owned
and/or operated by Manager or an Affiliate of Manager, including, in each case, compensation (i.e., salaries
and bonuses) and benefits, employment taxes, social security contributions, training and severance
payments, costs in connection with litigation or consultation and, subject to the Approved Budget,
recruitment expenses and the costs of moving executive level Personnel, their families and their belongings
to the area in which the Hotel is located at the commencement of their employment.
        Working Capital means funds reasonably necessary for the day-to-day operation of the Hotel.




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                                                  ARTICLE II

                                           TERM OF AGREEMENT
          Section 2.01     Term. The initial tenn of this Agreement (the "Initial Tenn") shall begin on the
 Effective Date and, subject to the tennination rights expressly set forth herein, will tenninate on the last
 day of the tenth (1011') full Fiscal Year. Thereafter, the Tenn shall automatically be extended for two
 successive terms of five (5) years each (each, a "Renewal Tenn") on the same terms and conditions as set
 forth in this Agreement unless Manager notifies Owner of its election not to renew at least six (6) months
 before the end of the Initial Term, or then current Renewal Term. The Initial Term and each Renewal Tenn
 are collectively, the "Term." In the event that the Owner is required to terminate this agreement due to
 lender covenants, immediately upon restoration of the Owner's rights to control the Property, this
 Agreement shall be immediately reinstated. At any time that the Manager is not in full control of the
 Property, use of all brand collateral, trademarks, digital and design assets, online presence including website
 and social media accounts in the name of The Williamsburg Hotel, shall ceased to be associated with the
 property in any manner and control and ownership of all brand collateral and online and social media
 accounts shall remain with the Manager.
                                                 ARTICLE III

                                       OPERATION OF THE HOTEL
        Section 3.0 l   Operation of the Hotel. Owner hereby retains Manager to manage and operate the
Hotel commencing on the Effective Date in a professional manner in accordance with and subject to the
terms of this Agreement, and to provide or cause to be provided all amenities in connection with the Hotel
which are reasonable and customary for such an operation.
         Section 3.02 Manager's Control and Discretion. Subject to the terms of this Agreement and the
Budget, Manager shall manage and operate the Hotel. Without limiting the generality of the foregoing but
subject to the other provisions of this Agreement, Manager's control and discretion shall include, and
Manager shall be responsible for, the operation of the Hotel for all customary purposes, and, without
limitation thereof, at its discretion to do the following:
                 (a)     Hire, directly or through an Affiliate, the general manager, the financial controller
and other managerial and hourly staff of the Hotel who shall work solely and exclusively for the Manager;
provided, that Owner shall have a reasonable opportunity to meet with the general manager before Manager
shall hire such person; provided, further, however, that Owner shall have no approval right with respect to
any such hiring. Manager shall also have the right to hire, supervise, promote and discharge all employees
performing services in or about the Hotel, all of whom shall be employees of Manager or an Affiliate of
Manager. Owner shall have no right to hire, supervise, promote or discharge any employees of the Hotel,
and Owner agrees not to attempt to do so and, not in limitation of the foregoing, in no event shall Owner
cause, suffer or pennit any Affiliate of Owner, or any person holding, directly or indirectly, a beneficial
interest in Owner (other than Manager or an Affiliate of Manager), to participate in or interfere with such
supervision. On reasonable advance notice from Owner to Manager, senior executives of Manager's
corporate office (as designated by Manager) shall meet with Owner, either in person or by telephone (at
Manager's discretion), to review with Owner the financial performance the Hotel.
                (b)     Retain such specialists and consultants as Manager may from time to time
reasonably determine to be necessary for the successful operation of the Hotel.
                 (c)      Detennine and implement all labor policies, including with respect to wage and
salary rates and terms, fringe benefits, pension, retirement, vacation, bonus and employee benefit plans, all
consistent with industry practice.



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                  (d)     Supervise and maintain accurate Books and Records, including the books of
   account and accounting procedures of the Hotel.
                   (e)      Negotiate, enter into, and modify, leases, subleases, licenses and concession
   agreements for stores, restaurants, bars and other facilities, and services at the Hotel.
                   (f)       Make or cause to be made all necessary repairs, replacements and/or additions to
  the Hotel so that it shall be adequately maintained and furnished at a level of a luxury boutique hotel
                    (g)     Negotiate and enter into service contracts and software licenses in Owner's or
  Manager's name required in the ordinary course of business in operating the Hotel, including contracts for
  electricity, gas, telephone, detective agency protection, information technology, cleaning, trash removal,
  extermination and other services which Manager deems advisable.
                   (h)     Select and obtain Consumable Supplies, Operating Equipment and FF&E for the
  operation of the Hotel in the normal course of business.
                  (i)   Determine all tenns for admittance, charges and rate schedules for guest rooms,
  function rooms, commercial space privileges, entertainment and food and beverages.
                  (j)    Determine all credit policies with respect to the operation of the Hotel, including
 entering into customary credit card and barter agreements.
                  (k)     Establish food and beverage policies (including pricing) with respect to the Hotel,
 including the right to conduct catering operations outside the Hotel but for the account of the Hotel.
                 (I)      Establish and implement all advertising, public relations and promotional policies
 with respect to the Hotel including exercising the sole and exclusive control over all public statements,
 whether written or oral and no matter how disseminated, advertising, press releases and conferences;.
                 (m)     Retain attorneys and other professionals as Manager may reasonably deem
 necessary to provide advice with respect to operating the Hotel, including with respect to zoning,
 environmental, employment and litigation matters, and institute any and all legal actions or proceedings as
 shall be reasonably necessary in the Manager's judgment to collect charges, rent or other income of the
 Hotel.
                (n)    Appear in, defend against and/or settle all legal actions or proceedings brought
 against Manager or Owner or both in connection with the operation of the Hotel.
                (o)     Establish any other policy or perform any other act or function which in the
reasonable discretion of Manager is necessary or desirable to operate the Hotel on a day-to-day basis in
accordance with the Operating Standard and the terms of this Agreement and perform all other acts within
the scope of Manager's duties hereunder.
         Section 3.03     Manager Affiliate Services. In fulfilling its' obligations under this Agreement,
Manager is hereby authorized to use the services of Manager's Affiliates provided that such services and
fees therefor shall be furnished on terms and conditions which are not less favorable to Owner than those
obtained in the competitive, open market.


                                               ARTICLE IV

                                  MANAGER STATVS; EMPLOYEES
        Section 4.01     Manager Status. Nothing herein shall constitute or be construed to be or create a
partnership, joint venture or any other similar type of association between Owner and Manager. Owner
covenants that Manager's engagement under this Services Agreement hereunder and right to occupy and
manage the Hotel shall be exclusive and undisturbed, subject only to the limitations of this Management

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 and Services Agreement. Owner further covenants that all intellectual property, including brand name,
 trademarks issued and filed, customer lists, website, social media accounts and all content including photos
 of the property are the sole property of the Manager. The Manager retains unlimited rights to any content
 including photos of the property utilized in the any media including all social media accounts of the
 Williamsburg Hotel, included but not limited to Instagram and Facebook.
          Section 4.02     Employees.
                   (a)      All Personnel shall be employees of Manager or an Affiliate of Manager; provided,
  however, that Owner shall be obligated to reimburse Manager for all Personnel Costs for such Personnel in
  accordance with the terms of this Agreement. Reimbursement for Personnel Costs includes any costs
  incurred as a result of the termination of any Personnel including if such termination is as a result of the
 termination or sooner expiration of this Agreement. Manager shall have the right to transfer the Personnel
 to an Affiliate or cause an Affiliate to hire the Personnel, and notwithstanding the foregoing, Manager and
 its Affiliates shall, in their sole discretion, have any and all rights regarding such Personnel provided
 hereunder, and in relation thereto. Owner shall not give orders or instructions to any Personnel, including
 with respect to the operation of the Hotel. In furtherance of the foregoing, Owner and Manager hereby
 agree that the Manager shall determine, in its sole discretion, the number of employees required to operate
 the Hotel, the working conditions at the Hotel, the organizational concept and any necessary reorganization
 and the like in order to properly perform the duties of the Manager under this Agreement.
          Section 4.03     Reimbursement of Employee Expenses. All Personnel Costs shall be billed by
 Manager to, and be reimbursed by, Owner as an operating expense under this Management services
 agreement. Manager may assign employees of Manager or any of Manager's Affiliates to perform services
 for the Hotel and Owner shall reimburse Manager for Personnel Costs associated with such employees as
an Operating Expense. Employees of Manager other than those regularly employed at the Hotel or
otherwise in the New York City metropolitan area shall be entitled to free room and board at such times as
they visit the Hotel in connection with the management of the Hotel or are assigned temporarily to the Hotel
to perform services for the Hotel. Owner shall reimburse Manager for all reasonable travel expenses to and
from the Hotel for such employees. Not in limitation of the provisions of the foregoing, Owner aulhorizes
Manager to make available to employees of Manager and its Affiliates certain benefits in the form of
discounted room use at the Hotel as determined in accordance with Manager's then-effective employee
discount policy, not to exceed 200 room nights per any calendar year. Owner hereby approves such benefits
and acknowledges that it has no claim against Manager with respect thereto, to the extent such discounts
do not materially exceed those customary to the hotel industry in the geographic region where the Hotel is
located.
                                                ARTICLEV

                                           INDEMNIFICATION
        Section 5.01     Indemnification by Owner.
                  (a)      Owner shall indemnify, defend, and hold Manager and its Affiliates and their
respective directors, members, trustees, officers, employees, agents and assigns (collectively, "Manager
Indemnified Parties") harmless from and against any and all claims, demands, damages, cost, expense,
actions (including enforcement proceedings initiated by any government agency), penalties, suits, and
liabilities (including the cost of defense, settlement, appeal, reasonable attorneys' fees and costs and any
other amounts that Manager is required to pay to third parties in connection with such matters) which they
or any of them may have alleged against them, incur, become responsible for, or pay out for any reason
related to the design, management, operation or maintenance of the Hotel or the performance by Manager
of the responsibilities and obligations provided in this Agreement, provided, however, that in no event shall
Owner's indemnification obligations cover or extend to conduct of Manager or any of Manager's Affiliates
that constitutes gross negligence, willful misconduct or fraud. In case of any action, suit or proceeding

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 brought against Manager arising from or relating to matters covered by the indemnity Manager will notify
 Owner of such action, suit or proceeding, and Manager may, at Owner's expense, by notice to Owner, elect
 to defend such action, suit or proceeding or cause the same to be defended. Any compromise, settlement
 or offer of settlement of any claim, action or proceeding that Owner shall be obligated to indemnify
 Manager Indemnified Parties pursuant to the tenns of this Agreement shall require the prior written consent
 of Manager: provided that no such consent shall be required for any such compromise, settlement or offer
 which provides for a full release of Manager and its Affiliates.
           Section 5.02 Indemnification by Manager. Manager shall indemnify, defend and hold Owner
  and its Affiliates and their respective directors, members, officers, employees, agents and assigns
  (collectively, "Owner Indemnified Parties") hannless from and against any and all claims, demands,
  damages, cost, expense, actions (including enforcement proceedings initiated by any government agency),
  penalties, suits, and liabilities (including the cost of defense, settlement, appeal, reasonable attorneys' fees
  and costs and any other amounts the Owner is required to pay to third parties in connection with such
  matters, but excluding consequential damages sustained by Owner), which they or any of them may have
  alleged against them, incur, become responsible for, or pay out for any reason, to the extent such matters
 are caused by conduct of Manager's or Manager's Affiliates corporate personnel that constitutes gross
 negligence, willful misconduct or fraud. In case of any action, suit or proceeding brought against Owner
 arising from or relating to matters covered by the indemnity, Owner will notify Manager of such action,
 suit, or proceeding, and Manager may, at Manager's expense, by notice to Owner, defend such action, suit,
 or proceeding, or cause the same to be defended. Any compromise, settlement or offer of settlement of any
 claim, action or proceeding that Manager shall be obligated to indemnify pursuant to the tenns of this
 Agreement shall require the prior written consent of Owner; provided that no such consent shall be required
 for any such compromise, settlement or offer which provides for a full release of Owner and its Affiliates.
        Section 5.03      Survival of Indemnity. The obligations set forth shall survive any termination or
assignment of this Agreement. In no event shall the settlement by either party in good faith of any claim
brought by a third party (including Personnel) in connection with the ownership or operation of the Hotel
be deemed to create any presumption of the validity of the claim. Notwithstanding any contrary provisions,
Owner and Manager mutually agree for the benefit of each other to look first to the appropriate insurance
coverages in effect in the event any claim or liability occurs as a result of injury to person or damage to
property, regardless of the cause of such claim or liability.
                                                  ARTICLE VI

                                                   BUDGETS
          Section 6.01 Budget. Not later than sixty (60) days prior to the commencement of each Fiscal
 Year, Manager shall submit the Budget to Owner for Owner's review and approval. The Budget shall
contain (i) an estimated profit and loss statement on a monthly basis, (ii) a b~dget of receipts and
expenditures required for the operation of the Hotel pursuant to the tenns of this Agreement, (iii) a
description of proposed capital improvements to be made and itemized capital expenses, (iv) a statement
of cash flow, including a schedule of Working Capital which may be maintained in a sub-account of the
Operating Account and (v) any anticipated requirements for funding by Owner. Owner shall give its written
approval or disapproval of the proposed Budget not later than thirty (30) days after receipt thereof. If Owner
does not provide its written approval or disapproval (and in the case of disapproval, specifying in reasonable
detail its objections) within such thirty (30) day period, and Manager gives notice (the "Reminder Notice")
to Owner of such failure by Owner, then, if Owner still does not provide its written approval or disapproval
(and in the case of disapproval, specifying in reasonable detail its objections) within thirty (30) days after
receipt of the Reminder Notice, Owner shall be deemed to have approved such proposed Budget as
submitted by Manager. Owner acknowledges that the projections contained in each proposed Budget and
the Approved Budget are estimates and are subject to and may be affected by changes in financial, economic
and other conditions and circumstances beyond Manager's reasonable control, and the giving of such

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  projections shall not be construed as a guarantee or wan-anty by Manager to Owner of any matter or in any
  way whatsoever.
          Section 6.02     Adherence to Budget.
                  (a)     If the usage of all or any portion of an income-producing facility of the Hotel or
  the guest occupancy related to such facility, in any period exceeds the usage or occupancy for such faci lity
 projected in the Approved Budget for such period, the expense categories in the Approved Budget for such
 period directly related to servicing such increase in usage or occupancy shall automatically be deemed
 increased by such reasonable amount as is necessary to accommodate such increased usage or occupancy.
 Subject to the foregoing sentence and the next following sentence, Manager shall, in the performance of its
 duties hereunder, (i) adhere to the Budget with respect to expense items set forth in such Budget (it being
 agreed that Manager shall have no liability for cost overruns beyond its reasonable control) and (ii) use its
 reasonable good faith efforts to adhere to or exceed the Budget with respect to income items set forth in
 such Budget.
                  (b)     If at any time during any Fiscal Year Manager shall, in the performance of its
 duties hereunder, determine that the Budget relating to such Fiscal Year is no longer appropriate because
 of unforeseen changes, Manager shall submit to Owner for Owner's review, a revised budget (the "Revised
Budget") for the remainder of such Fiscal Year. Owner shall give its written approval or disapproval of the
proposed Revised Budget not later than thirty (30) days after receipt thereof. If Owner does not give its
written approval or disapproval (and in the case of disapproval, specifying in reasonable detail its objections)
within such thirty (30) day period, and Manager gives the Reminder Notice to Owner, then, if Owner still
does not provide its written approval or disapproval (and in the case of disapproval, specifying in reasonable
detail its objections) within thirty (30) days after receipt of the Reminder Notice, Owner shall be deemed
to have approved such proposed Revised Budget as submitted by Manager
                                                ARTICLE VII

                                         OPERATrNG EXPENSES
         Section 7.01   Payment of Operating Expenses. In performing its authorized duties hereunder,
Manager shall promptly pay all Operating Expenses to the extent of available Working Capital. All
Operating Expenses incurred by Manager in performing its authorized duties in accordance with the terms
of this Agreement shall be reimbursed or borne by Owner. To the extent the funds necessary therefor are
not generated by the operation of the Hotel, they shall be supplied by Owner to Manager in the manner
provided in Article VIII. Manager shall in no event be required to advance any of its own funds for
Operating Expenses.

                                               ARTICLE VIII

                            WOR.KJNG CAPITAL AND BANK ACCOUNTS

        Section 8.01     Working Capital.
                 (a)    Owner shall provide the initial funds necessary to supply the Hotel with Working
Capital in accordance with the Budget. Thereafter, subject to the Budget, upon request of Manager, Owner
shall promptly provide any additional funds necessary to maintain Working Capital at levels reasonably
detennined by Manager to be necessary to satisfy the needs of the Hotel as its management and operation
may from time to time require. Working Capital so provided shall remain the property of Owner throughout
the Tenn, subject to expenditure for Operating Expenses. Upon tennination of this Agreement, Owner
shall retain any unused Working Capital.
                (b)     If Owner does not provide the additional funds required pursuant to Section 8.0 J(a)
or as otherwise required hereunder within five (5) business days after the request is made therefor by

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 Manager, Manager may elect, but shall have no obligation, to provide such additional funds, and shall be
 promptly reimbursed therefor by Owner with interest thereon at a rate equal to the prime commercial
 lending rate (the "Prime Rate") plus six percent (6%) per annum, or the highest legal rate, whichever is
 lower, compounded monthly, such interest accruing from the date the Manager provides such additional
 funds through and including the date of reimbursement. If Manager is not reimbursed by Owner within
 five (5) days after Manager so provides such additional funds, Manager may reimburse itself (with interest
 as set forth above) out of the Operating Account. The aforementioned right of reimbursement shall be in
 addition to any other rights which Manager may have with respect to any provision of this Agreement or
 otherwise.
         Section 8.02    Bank Accounts. All funds to be made available to Manager by Owner for the
 maintenance and operation of the Hotel shall be deposited in the Operating Account Manager may open
 separate accounts which are linked to the Operating Account for certain operational purposes, such as by
 way of example, payment of payroll expenses and travel agent commissions. Such bank accounts shall be
 opened and maintained in Manager's name, at the same bank as the Operating Account and provisions in
 this Agreement regarding the Operating Account shall apply to those accounts. Manager shall pay all
 Operating Expenses (including Manager's Expenses and Manager's Fees) and all other amounts as required
 in connection with the maintenance and operation of the Hotel in accordance with the provisions of this
 Agreement out of the Operating Accounts.
        Section 8.03    Authorized Signatures. The Operating Account shall be in Owner's or Manager's
name and Manager shall be authorized signatory. Checks or other documents of withdrawal shall be signed
by duly authorized individual representatives of Manager; Upon expiration or termination of this
Agreement, as provided in this Agreement, all remaining amounts in the referenced accounts shall be made
available to Owner, subject to the obligation to pay all amounts due to Manager hereunder.
         Section 8.04      Disbursements to Owner. Contemporaneously with furnishing each Monthly
Statement and commencing after the first Fiscal Year, Manager shall disburse to Owner, in the manner
directed by Owner, any funds remaining in the Operating Account at the end of such immediately preceding
calendar month after: (i) payment of all Operating Expenses to be paid by Manager under this Agreement,
Manager's Fees, Centralized Expenses, Manager's Expenses, and any other amounts Manager is permitted
or required to make pursuant to this Agreement, (ii) retention of amounts in the Operating Account
necessary to fund Working Capital if any and any other reserves reasonably established by Manager (such
as a reserve for litigation costs) and (iii) payment or retention of such other amounts as may be agreed to in
writing from time to time by Owner and Manager. Prior to the expiration of the first Fiscal Year, in order
to allow the Hotel to stabilize, Manager shall not be required to make the foregoing monthly disbursements
to Owner but shall use commercially reasonable efforts to disburse excess funds to Owner in Manager's
discretion. Manager's willingness to defer payment of Management Fees shall not constitute a waiver of
monies due to the Manager.
                                                ARTICLE IX

                                BOOKS, RECORDS AND STATEMENTS
         Section 9.01      Books and Records. Manager shall keep full and adequate Books and Records
reflecting the results of operation of the Hotel on an accrual basis,, with such exceptions as may be required
by the provisions of this Agreement. All Books and Records, wherever kept, shall be available to Owner
and its representatives at all reasonable times for examination. Upon any termination of this Agreement, a
copy of all of such Books and Records forthwith shall be turned over to Owner so as to insure the orderly
continuance ofthe operation of the Hotel, but the original Books and Records, shall be retained by Manager.




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                                                 ARTICLEX

                                             MANAGER'S FEES
         Section l 0.0 I Base Management Fee. On the tenth ( l 0111) day of each month during each Fiscal
 Year,, Owner shall pay to Manager a base management fee (the ''Base Management Fee") equal to three
 percent (3.0%) of Gross Revenues in the first Fiscal Year and for all remaining Fiscal Years in the Tenn.
 The Base Management Fee shall be based on the actual monthly Gross Revenues as shown on the monthly
 Statement for the prior month.
        Section I0.02 Reimbursement of Expenses. From time to time as incurred, Owner shall promptly
 reimburse Manager for any Manager's Expenses to the extent such Manager's Expenses are incurred by
 Manager in accordance with the provisions of this Agreement.
         Section l 0.03 Incentive Fee. Within ten (I 0) days after receipt of the Certified Financial
 Statements, Owner shall pay Manager an annual incentive management fee in an amount equal to ten
 percent (10%) of net operating income (the "Incentive Fee").
         Section 10.04 Disbursement of Fees. Manager is authorized to disburse to itself from the
Operating Account the amounts owing as the Manager's Fees and for reimbursements provided for in the
Budget or otherwise expressly pennitted by this Agreement, all at the times and in the amounts provided
for in this Agreement, but, if insufficient funds are available to do so, such amounts shall accrue with
interest thereon at the Prime Rate plus six percent (6%) per annum, or the highest legal rate, whichever is
lower, compounded monthly, from the date such payment is due through and including the date of payment,
and Owner shall pay same to Manager within ten (10) days after demand by Manager.
                                                ARTICLE XI

                 REPAIRS AND MAINTENANCE AND CAPITAL IMPROVEMENTS
        Section 11 .0 I    Repairs and Maintenance.
                (a)     Manager shall from time to time make such expenditures for repairs and
maintenance to the Hotel, and repairs, maintenance, replacements, renewals and additions to the FF&E, and
minor capital improvements (collectively, "Repairs") as are set forth in the Budget. Notwithstanding the
foregoing, Manager shall not require the consent of Owner for, and shall be authorized to undertake,
Emergency Repairs whether or not the cost of performing such repairs are in the Budget, and Manager may
deviate from the Budget and incur additional expenses for Repairs.
                                               ARTICLE XII

                             REAL AND PERSONAL PROPERTY TAXES,
                          LOCAL TAXES, LEVIES AND OTHER ASSESSMENTS
         Section 12.0 I Payment of Real Estate Taxes. Manager shall pay from the Operating Account
prior to the dates the same become delinquent all real estate and personal property taxes and all bettennent
assessments levied against the Hotel or any of its component parts. If Owner shall pay the real estatetaxes,
Owner shall furnish Manager proof of payments thereof upon request from Manager.
        Section 12.02 Owner's Right to Contest. Notwithstanding the foregoing, Owner may, as an
Operating Expense, contest the validity or the amount of any such tax or assessment. Manager agrees to
cooperate with Owner and execute any documents or pleadings required for such purpose, provided that
Manager is satisfied that the facts set forth in such documents or pleadings are accurate and that such
execution or cooperation does not impose any unreasonable obligations on Manager, and Owner agrees to
reimburse Manager as an Operating Expense for all expenses occasioned to Manager for any such
cooperation.
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                                                 ARTICLE XIII

                                    TRADEMARKS AND HOTEL NAME
           Section 13 .0 I Primary Name: Other Marks. During the tenn of this Agreement, the Hotel shall
 at all times be known and designated by the name The Williamsburg Hotel (the "Hotel Brand"). Owner
 acknowledges that the Brand Name is the property of the Manager.
                  (a)       Manager's Tradename. Owner and Manager agree that if the Manager utilizes any
 tradenames, trademarks, service marks, logos or designs owned, created or licensed by Manager or any
 Affiliate thereof (collectively, "Manager's Tradename") in connection with the management, operation and
 marketing of the Hotel, such Manager Tradenames shall remain within the sole control and ownership of
 the Manager. Manager shall have the right to cease using such agreed-upon Primary Name and any other
 Manager's Tradename with respect to the Hotel if at any time this Agreement is terminated or Owner
 prevents Manager from operating the Hotel at a level consistent with the Approved Budget and the
 Operating Standard. Owner hereby acknowledges that it has no right, title or interest in and to Manager's
Tradename and covenants (i) not to claim any such interest and (ii) to take such steps as are necessary, in
the negotiation, execution and delivery of agreements with third parties, and in any other circumstances
which might otherwise suggest erroneously that Manager's Tradename is the property of Owner, to
represent that Manager's Tradename is the property of Manager. Except as otherwise expressly provided
herein, Owner shall have no right, at any time, to use Manager's Tradename, or any derivation thereof, or
the name of any other hotel managed or operated by Manager or its Affiliates, or any derivation thereof,
for any reason or purpose whatsoever, without obtaining the prior written consent of Manager, which
consent may be withheld in Manager's sole discretion. As between Owner and Manager, all right, title and
interest in Manager's Tradename shall, at all times, remain with Manager. Upon the tennination of this
Agreement for any reason or upon termination of the license agreement governing the use of Manager's
Tradenames between Owner and Manager, Manager shall have the right to promptly remove Manager's
Tradename from the Hotel and all items (including, by way of example and not by limitation, the Hotel
building, all facilities, FF&E, adve1tising and marketing materials and Consumable Supplies) used at, in
connection with or in reference to the Hotel.
                   (b)     Manager's Materials and Manager's Design Work. Owner acknowledges that in
 the design, operation and management of the Hotel, Manager will make use of confidential infonnation
 regarding Manager's business, operations, clients, investors and business partners and/or infonnation not
 generally known by Owner in the fonn in which it is used by Manager, and which gives Owner a
 competitive advantage over other companies which do not have access to this information, includingsecret,
 confidential, or valuable proprietary information, trade secrets or work product of Manager and its Affiliates,
 conveyed orally or reduced to a tangible form in any medium, including but not limited to information
 concerning the operations, business plans, financial data and financial plans, architectural plans and designs,
 marketing plans, techniques and arrangements, manuals and form contracts, Personnel infonnation and files,
pricing policies, proprietary databases, internal communication and correspondence, including with
Personnel, mailing lists, guest profiles and records, technology, research, future plans, business models,
strategies, business methods and employees of Manager and its Affiliates, as well as information about
Manager's and its Affiliates' customers, clients and business partners and its operations (collectively, the
"Manage,:'s Materials"). During the Tenn, in the event Owner has access to any Manager's Materials, its
use of such Manager's Materials shall not (a) violate the terms of this Agreement, any applicable law or
any privacy policies of Manager or any of its Affiliates, (b) interfere with, or be detrimental to, the use and
exclusive operation of the Hotel by Manager, and (c) interfere with, or be detrimental to, the financial
performance of the Hotel. Owner also acknowledges that in the design, operation and management of the
Hotel, Manager may create logos and/or designs and commission artwork, photographs, website design,
images of the Hotel, or other decorative specialty items (collectively, the "Manager's Design Work") to be
used in connection with Manager's operation of the Hotel. Owner hereby acknowledges that it has no right,


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   title or interest in and to Manager's Materials or Manager's Design Work and covenants (i) not to claim
   any such interest, (ii) not to disclose or distribute, or contract to disclose or distribute, Manager's Materials
   or Manager's Design Work to any person without Manager's express written consent except as otherwise
   expressly provided herein or to the extent required by law, (iii) not to use Manager's Materials or Manager's
   Design Work in any manner except with the prior consent of Manager which may be withdrawn at any time,
   and (iv) upon termination of this Agreement for any reason, to cease all use of Manager's Materials(or any
   part thereof) and Manager's Design Work (or any part thereof) and return to Manager all copies and/or
   originals of Manager's Material and Manager's Design Work in its possession. When using Manager's
   Materials or Manager's Design Work with Manager's consent, the same shall be used only for the purpose
  of furthering the business of the Hotel and not for any other reason. All right, title and interest in and to
  Manager's Materials and Manager's Design Work, including all copyrights, trademarks and trade secret
  rights, shall always remain with Manager and may be removed from the Hotel by Manager at any time,
  including upon a termination or expiration of the Agreement, and Owner shall have no rights with respect
  thereto.

                   (c)     Solicitation. Owner shall not, and shall ensure that its Affiliates do not, directly,
 or indirectly, for itself or on behalf of any other person, firm or corporation, solicit, hire, retain as a
 consultant, or use the services of, any person who is, or was in the previous eighteen (18) months (other
 than a person whose services were tenninated by Manager), either an employee (including Personnel) of
 Manager or an Affiliate of Manager, without Manager's express prior written approval. This provision of
 shall survive for eighteen ( 18) months after the termination or expiration of this Agreement.

                  (d)     Sales of Merchandise. Owner acknowledges that Manager's Materials, Manager's
  Design Work and Manager's Tradename are of great commercial value and that, without the covenants
 contained herein with respect thereto and with respect to Manager's employees set forth above, Manager
 would not enter into this Agreement. Nothing herein shall prohibit Manager from placing in rooms and
 other places at and around the Hotel items, such as picture books, identifying other hotels managed or
 operated by Manager and its Affiliates. In addition, Manager shall have the right to sell merchandise in the
 rooms in an unobtrusive manner or in the gift shop, at the front desk or in other appropriate locations at the
 Hotel, provided that the proceeds from such sales shall constitute Gross Revenues and Manager shall
 provide such merchandise to Owner at a price no less favorab le to Owner than that which Manager provides
 such merchandise to any other hotel operated by Manager or its Affiliates.
                                                 ARTICLE XIV

                                     ASSIGNMENTS; SALE OF HOTEL
         Section 14.01 Assignment by Owner. Owner shall have no right to transfer or assign any of
Owner's interest in this Agreement without the prior written consent of Manager (which consent of
Manager may b·e withheld by Manager in Manager's sole and absolute discretion), except that in connection
with a sale of the Hotel or a permitted lease Owner shall, on thirty (30) days' prior written notice to Manager,
cause this Agreement to be assigned to, and assumed by, the purchaser of the Hotel. For the avoidance of
doubt, if Owner shall sell, assign, transfer or convey the Hotel or a controlling interest therein (including
by transfer of ownership interest, merger or other disposition, in one or a series of related transactions) at
any time during the Term, Owner shall have no right to terminate this Agreement as a result thereof, and,
subject to Manager's right to terminate, this Agreement shall continue in full force and effect and bind
Manager and Owner's successors and assigns.
        Section 14.02 Assignment by Manager. Manager is not entitled to assign this Agreement to a
third party without the written consent of the Owner, except in connection with a merger or transfer of
substantially all of the assets of its parent entity to any corporation, limited liability company, partnership
or other business entity, provided that (i) the assignee will assume the obligations of Manager under this


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  Agreement, and (ii) the Hotel will continue to be operated under the Hotel Brand, in substantially the same
  manner as it was operated prior to such transfer.
                                                  ARTICLE XV

                                                TERMINATION
          Section 15.01    Termination By Owner.
                  (a)    Owner shall have the right to terminate this Agreement, without the payment of
 any fee or penalty, other than Manager's Expenses and accrued and unpaid Manager's Fees payable
 pursuant to this Agreement and the return of all monies advanced by the Manager, for the following reason
 only (each, following the provision of notice and the lapse of any applicable cure periods, an "Event of
 Default"): the commission by Manager of fraud or willful misconduct in the performance of the duties of
 Manager under this Agreement
                  (b)     Owner shall have no right to tenninate this Agreement unless Owner shall have
 given notice of any such event to Manager and such event shall continue unremedied for a period of ninety
 (90) days after notice, or if the breach is not susceptible of cure within ninety (90) days, such additional
period as may be necessary to effect such cure provided that Manager commences such cure promptly
within such sixty (60) day period and diligently prosecutes such cure to completion. In addition, but not in
limitation of the foregoing, Owner shall have no right to terminate this Agreement unless Owner shall have
given notice to Manager of the occurrence of the event which Owner claims is the basis for such termination,
such notice to be given within 180 days after the date Owner first obtains actual knowledge of such
occurrence or, if such occurrence is ongoing, the date on which Owner first obtains actual knowledge that
such occurrence has ceased. Failure by Owner to give such notice within said 180-day period will constitute
a waiver of the rights of Owner to terminate this Agreement by reason of the particular occurrence which
would have been the basis for such termination, but not, for the avoidance of doubt, with respect to any
other occurrence, and shall not limit Owner's other rights and remedies, if any, arising out of such
occurrence.
            (c)    IN NO EVENT SHALL MANAGER BE DEEMED IN BREACH OF ITS
DUTIES HEREUNDER, OR OTHERWISE AT LAW OR IN EQUITY, SOLELY BY REASON OF (l)
THE FAILURE OF THE FINANCIAL PERFORMANCE OF THE HOTEL TO MEET OWNER
EXPECTATIONS OR INCOME PROJECTIONS OR OTHER MATTERS INCLUDED IN THE
OPERATING PLAN, (II) THE ACTS OF HOTEL PERSONNEL, (III) THE INSTITUTION OF
LITIGATION OR THE ENTRY OF nJDGMENTS AGAINST OWNER, MANAGER OR THE HOTEL
WITH RESPECT TO HOTEL OPERATIONS, OR (IV) ANY OTHER ACTS OR OMISSIONS NOT
OTHERWISE CONSTITUTING A BREACH OF THIS AGREEMENT, IT BEING THE INTENTION
AND AGREEMENT OF THE PARTIES THAT MANAGER'S SOLE OBLIGATION HEREUNDER
SHALL BE TO ACT IN CONFORMITY WITH THE STANDARD OF SKILL, CARE AND DILIGENCE
REQUIRED BY THE OPERATING STANDARD, AND OTHERWISE IN CONFORMITY WITH THE
EXPRESS TERMS OF THIS AGREEMENT.
        Section 15.02     Termination by Manager.
                 (a)      Manager shall have the right to terminate this Agreement for the following reasons
(each, following the provision of notice and the lapse of any applicable cure periods, an "Event of Default"):
(i) a monetary or a material non-monetary breach of obligations by Owner under the terms of this
Agreement; (ii) the event of any suspension for a period in excess of thirty (30) days or withdrawal or
revocation of any material license or permit required for the Manager's performance under this Agreement
or the operation of the Hotel in accordance with the terms hereof, but only if such suspension, withdrawal
or revocation is due to circumstances beyond Manager's control or any Force Majeure Event; (iii) Manager
is materially limited in operating and maintaining the Hotel in accordance with the requirements of this


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   Agreement because of (x) governmental laws, rules or regulations hereafter enacted of which Manager so
   notifies Owner in writing, and/or (y) Owner's failure to fund any amounts as required pursuant to the terms
  of this Agreement; (v) Manager makes a reasonable determination that continued operation of the Hotel
  wiU result in an imminent danger to public health or safety; (vi) a failure by Owner to deposit in the
  Operating Account funds requested by Manager in accordance with the tenns hereof; (vii) Owner contests
  in any court or proceeding Manager's ownership of any ofthe Manager's Materials, Manager's Design Work
  and Manager's Tradename; (viii) Owner conceals revenue, maintains false books and records of accounts,
  submits false reports or information to Manager or otherwise attempts to defraud Manager.
          Section 15.03 Transition Procedures. Upon the expiration or termination of this Agreement,
  Owner and Manager shall have the following rights and cause the following to occur each of which shall
  be a covenant of the party obligated hereunder:
                 (a)      Licenses and Permits. Manager shall execute all documents and instruments
  reasonably necessary to transfer (if transferable) to Owner all governmental permits and licenses held by
  Manager necessary to operate the Hotel.
                 (b)     Leases and Concessions. Manager shall assign to Owner or its nominee, and
 Owner and its nominee, if any, shall assume, all leases and concession agreements in effect with respect to
 the Hotel in Manager's name.
                  (c)     Books and Records. A copy of all Books and Records for the Hotel kept by
 Manager shall be turned over to Owner, so as to ensure the orderly continuance of the operation of the
 Hotel, but the original Books and Records, may be kept by Manager.
                  (d)     Bookings. Manager shall provide to Owner a complete list of all future bookings
 together with the pertinent information relevant to such bookings, (i) to be used by Owner solely to honor
 and complete such bookings and for no other purpose (including marketing) and (ii) subject to Owner's
 written agreement to Manager's then-current data protection terms, including its privacy, security, access,
correction, deletion, data transfer, and incident notification and response requirements. Manager may
 remove from the Hotel any information (whether in electronic or hard copy format) pertaining to the
Manager Owned Customer Lists and/or Manager Directed Customers and Owner shall have no right to
retain any originals or copies of the same. In addition, Manager may retain a copy of and utilize, any other
customer and guest information, preference and history relating to customers of the Hotel other than
Manager Directed Customers without charge. Owner shall have no rights whatsoever to Manager's guest
loyalty programs, lists or the information contained therein, or any lists of followers, guests, held in any
program utilized by Manager to manage the property, as well as social media platform included but not
limited to Instagram and Facebook.
 Owner shall pay to Manager all accrued Manager's Fees and Manager's Expenses due through the date of
termination of this Agreement as a condition to effective termination. Any and all costs incurred by the
Manager and/or its Affiliates,' including costs related 'to the time of, and costs incurred by Personnel; in
connection with facilitating the foregoing transition procedures, shall be borne solely by Owner. Manager
shall be entitled to take reasonable measures, including restricting access to computer servers or hard copies
of files, in order to protect and prevent dissemination of any of the foregoing items set or otherwise that are
the property of Manager.
         Section 15.04 Termination Procedure. Upon an election of a non-defaulting party to exercise
their right to terminate this Agreement under; the non-defaulting party may, at its option, give to the
defaulting party notice of intention to terminate this Agreement, which tennination shall be effective after
the expiration of a period of ninety (90) days following the date of such tennination notice and, upon the
expiration of such period, the Term shall expire on the date specified in the notice. Such termination shall
be without prejudice to any right to any and all other remedies available at law or in equity subject to the
terms of this Agreement.


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                                                   ARTICLE XVI

                                                     NOTICES
           Section 16.0 I    Notices.
                    (a)     Any notice, statement or demand required to be given under this Agreement shall
  be in writing and shall be deemed given or rendered if (i) delivered by hand (against a signed receipt), (ii)
  sent by certified or registered mail, postage prepaid, return receipt requested, (iii) sent by express or
  overnight courier, such as by FedEx or UPS, or (iii) sent by facs imile or email transmission, with a
  confirmation copy sent in a manner provided in one of subclauses (i)-(iii) above, addressed to the parties
  hereto at their respective addresses listed on Exhibit A.
                   (b)      All notices, statements, demands and requests shall be effective upon receipt or
  refusal of delivery. By giving to the other party at least thirty (30) days written notice thereof, either party
  shall have the right from time to time and at any time during the term of this Agreement to change their
  respective addresses for notices, statements, demands and requests, provided such new address shall be
  within the United States of America. Any consent required to be given under this Agreement in writing
  shall be delivered in accordance with the terms of this Section 18.0 I.
                                                 ARTICLE XVII

                                           ADJUDICATON BY nJRY
         Section 17.04 Adjudication. Any dispute, claim or controversy arising out of or relating to this
 Agreement or the breach, termination, enforcement, interpretation, or validity thereof, including the
 determination of the scope or applicability of this Agreement to arbitrate, shall be determined by a Cou1t
 of Law in New York, NY, before a judge and jury.


                                                ARTICLE XVIII

                                               MISCELLANEOUS
         Section I 8.01     Representations.
                 (a)     Owner, as an inducement to Manager to enter into this Agreement, hereby
represents and warrants and covenants as follows: (a) this Agreement has been duly authorized, executed
and delivered and constitutes the legal, valid and binding obligation of Owner enforceable in accordance
with the terms hereof; (b) there is no claim, litigation, proceeding or governmental investigation pending
(or, to Owner's knowledge, threatened) against Owner, the properties or business of Owner or the
        Section 18.02 Successors and Assigns. This Agreement shall be binding upon and inure to the
benefit of Owner, its successors and/or pennitted assigns, shall be binding upon and inure to the benefit of
Manager, its successors and/or permitted assigns.
        Section 18.03 Governing Law. This Agreement shall be construed and enforced in accordance
with the laws of the State of New York.
        Section 18.04 Confidentiality. Except disclosure to obtain the advice of professionals or
consultants, in connection with the financing of the Hotel from a potential lender, to investors or potential
investors in the Hotel, Owner, Manager or any of their respective Affiliates, in furtherance of a pennitted
assignment of this Agreement, or as may be required by law or by the order of any government or tribunal,
Manager, Owner, the direct and indirect beneficial owners of Owner and their respective Affiliates shall
each ensure that the terms of this Agreement are not disclosed to the press or to any other third party or
entity without the prior consent of Owner and Manager. In addition, the parties agree to keep confidential

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   all information of a proprietary or confidential nature about or belonging to Owner or Manager to which
   such Person gains or has access by virtue of the relationship between Owner and Manager. Furthennore,
   Manager may not disclose any specific information regarding financial perfonnance of the Hotel to any
   third party, except (i) to obtain the advice of professionals or consultants, (ii) as provided in this Agreement,
   (iii) on a confidential basis to potential partners and/or investors in the Manager or its Affiliates or to
   potential new owners of Standard branded properties, or (iv) to a professional data reporting agency in
  accordance with standard industry practice. The obligations set forth shall survive any termination of this
  Agreement for a period of two (2) years following such tennination. The parties shall coordinate with one
  another on all public statements, whether written or oral and no matter how disseminated, regarding their
  contractual relationship as set forth in this Agreement, or the performance by either Owner or Manager of
  their respective obligations hereunder. Neither party shall have any liability under this Section if such
  Person uses commercially reasonable efforts to maintain the confidentiality required hereby.
          Section 18.05     Standard of Liability: Fiduciary Duties: lrrevocability of Contract; Competition.
                   (a)     Standard of Liability. Anything contained in any other provision of this Agreement
  to the contrary notwithstanding, Manager shall not be liable to Owner in any respect, whether during the
  Term or after any expiration or termination thereof, for the actions or activities of any employees,
 contractors, consultants or advisors employed or retained by the Hotel, whether or not recommended by
 Manager or employed by Manager or Manager's Affiliates other than for the gross negligence, fraud or
 willful misconduct on the part of Manager's corporate personnel in the performance of its duties hereunder.
 In addition, if an Event of Default by Manager shall have occurred and be continuing hereunder, Owner
 may seek compensation for actual damages sustained by Owner by reason of such breach, provided,
 however, that Owner shall not have the right to seek such damages from Manager for Manager's negligent
 (but not, for the avoidance of doubt, grossly negligent) conduct of its supervisory duties and in no event
 shall Manager be liable for punitive, exemplary, statutory or treble damages or any incidental or
 consequential damages with respect to any breach of a material obligation under this Agreement.


                  (b)     Competition and Corporate Opportunities. Except as provided in subsection (d)
 below, none of Manager, its Affiliates, nor any of their respective partners, principals, directors, officers,
members, managers and employees, shall have any duty to refrain from engaging, directly or indirectly, in
(i) the same or similar business activities or lines of business as the Owner or (ii) the business of managing
hotels other than the Hotel. In the event that Manager, its Affiliate or any of their respective partners,
principals, directors, officers, members, managers and employees, acquire knowledge of a potential
transaction or matter which may be a corporate opportunity for any of Owner or Owner's Affiliates (i)
neither Owner nor any Affiliate of Owner shall have any expectancy in such corporate opportunity, (ii)
such Persons shall not have any duty to communicate or offer such corporate opportunity to Owner or any
Affiliate of Owner and (C) such Persons may pursue or acquire such corporate opportunity or direct such
corporate opportunity to another Person, including to Manager or any Affiliate of Manager.

         Section 18.06 Entire Agreement. This Agreement constitutes the entire Agreement between the
parties relating to the subject matter hereof, superseding all prior agreements or undertakings, oral or written.
Owner and Manager hereby represent each to the other, that in entering into this Agreement neit~er has
relied on any projection of earnings, statements as to possibility of future success or other similar matters.
         Section 18.07 Counterparts. This Agreement may be executed in any number of counterparts,
each of which shall be deemed an original, but all of which shall constitute one and the same instrument.
Such executed counterparts may be delivered by facsimile or electronic mail (via portable document format
(pdt)) which, upon transmission to the other Party, shall have the same force and effect as delivery of the
original signed counterpart.


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          Section 18.08 Force Majeure. A party will not be liable to the other party for its inability or
 failure to perform, or delay in performing, any of its obligations under this Agreement caused by a Force
Majeure Event provided that the party affected takes all reasonable steps to reduce the effect of such Force
Majeure Event. If a party is unable to perfonn, in whole or in part, its obligations under this Agreement by
reason of a Force Majeure Event, then such party shall be relieved of those obligations to the extent such
party is so unable to perform them and such inability to perform so caused shall not make such party liable
to the other.




                                         [Signature page follows]




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       IN WITNESS WHEREOF, Owner and Manager have executed this Management and
Services Agreement as of the day and year first above written.


                                      OWNER:


                                     96 WYTHE ACQUISITION LLC


                                     By: 96 W Development LLC, its sole member

                                         By: 96 Wythe Holdings LLC, its Manager


                                                By:....t.:;:p=.==,--/--=----=:._- k__, _ _
                                                    Name: 6by Moskovits
                                                    Title: A thorized Signatory

                                     MANAGER:


                                    WILLIAMSBURG HOTEL BK LLC


                                    By:      ~f//lJ·M✓
                                       Name:/ Yechial Michael Lichtenstein,
                                       Title: ~uthorized Signatory
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                    Exhibit A


                  96 Wythe Acquisition LLC,
                  96 Wythe A venue
                  Brooklyn, New York 11249
                  Attn: Toby Moskovits

                  The Williamsburg Hotel BK, LLC
                  1274 49TH Street, Suite 184
                  Brooklyn, New York 11219
                  Attn: Yechial Michael Lichtenstein
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                           Chapter 11

        96 Wythe Acquisition LLC                                Case no. 21-22108 (RDD)

                                    Debtor.
--------------------------------------------------------x

                                          NOTICE OF HEARING

               PLEASE TAKE NOTICE, that a telephonic or video hearing will be held on
September 8, 2021 at 10:00 a.m. (the “Hearing”) before the Honorable Robert D. Drain, through
www.court-solutions.com or zoom.gov to consider the annexed application (“Application”) of
the above captioned debtor (the “Debtor”) for the entry of an order under sections 105(a), 345,
and 363(c)(1), of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),
authorizing, but not directing, the Debtor perform intercompany transactions postpetition.
                PLEASE TAKE FURTHER NOTICE, that objections, if any, must be in writing,
served upon the undersigned proposed Debtor’s counsel, and filed with the Clerk of the
Bankruptcy Court, with a courtesy copy to the Honorable Robert D. Drain’s chambers, so as to
be received at least seven (7) days before the Hearing date.
Dated: New York, New York
       August 10, 2021
                                                            BACKENROTH FRANKEL & KRINSKY,
                                                            LLP
                                                     By:    s/ Mark Frankel
                                                            800 Third Avenue
                                                            New York, New York 10022
                                                            (212) 593-1100
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                          Chapter 11

          96 Wythe Acquisition LLC                             Case no. 21-22108 (RDD)

                                    Debtor.
--------------------------------------------------------x


                 MOTION TO AUTHORIZE INTERCOMPANY TRANSFERS

                 96 Wythe Acquisition LLC (the “Debtor”), as and for its motion for an order

under sections 105(a), 345, 363(c)(1), and 364(a) of chapter 11 of title 11 of the United States

Code (the “Bankruptcy Code”), rules 6003 and 6004 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rule 4001-2 of the Local Bankruptcy Rules for the

Southern District of New York (the “Local Rules”) authorizing continued intercompany transfers

from the Debtor to Williamsburg Hotel BK LLC (the "Management Company"), respectfully

states:

                                               BACKGROUND

                 1.       On February 23, 2021, the Debtor filed a Chapter 11 petition under Title

11 of the United States Code, 11 U.S.C. 101 et seq. (the “Bankruptcy Code”).

                 2.       The Debtor owns the Williamsburg Hotel (the “Hotel”) property located at

96 Wythe Avenue, Brooklyn, New York, (the “Property”). The Property is a thirteen story, 160

room hotel with a rooftop pool, a bar and restaurant and a separate, elevated and enclosed bar

that sits above the pool referred to as the Water Tower Bar. The Hotel is managed by

Williamsburg Hotel BK LLC (the "Management Company"), a non-debtor affiliate, under the
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management agreement annexed hereto as Exhibit A ("Management Agreement"). The

Management Company has approximately 80 employees servicing the Hotel.

               3.     On December 13, 2017, the Debtor borrowed $68 million (the “Loan”)

from Benefit Street Operating Partnership, L.P. under a loan agreement (“Loan Agreement”) to

construct the Hotel. The Loan was subsequently assigned to BSPRT 2018-FL3 Issuer, Ltd. (the

“Lender” or the “Mortgagee”).

               4.     Prior to the Petition Date, in the ordinary course of the Debtor’s business,

the Debtor and the Management Company employed a cash management system to implement

the Management Agreement, and collect, transfer and disburse funds generated by the Hotel.

This enabled the Debtor to limit liability on vendor agreements and employee and client related

obligations and claims.

               5.     The Debtor presently maintains DIP accounts at TD Bank, the last four

digits of which are 0935 and 0927 (the "DIP Accounts"). All Debtor/Hotel income is paid into

the DIP Account, the last four digits of which are 0935.

               6.     To pay Management Company creditors for obligations relating to the

Hotel, the Management Company maintains general disbursement accounts at TD Bank, the last

four digits of which are 1596 (the "Disbursement Account"), a payroll account at TD Bank, the

last four digits of which are 1603 (the "Payroll Account"), and a sales tax reserve account at TD

Bank, the last four digits of which are 1611 (the “Sales Tax Reserve Account”).

               7.     In summary, virtually all of the Williamsburg Hotel operations are

performed by the Management Company under the Management Agreement, and the

Management Company's expenses are paid directly out of the Management Company's

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Disbursement Account, Payroll Account, or Sales Tax Reserve account. The Management

Company opened new accounts post-petition dedicated solely to post-petition disbursements.

               8.     To the best of the Debtor's knowledge, TD Bank is insured by the Federal

Deposit Insurance Corporation (the “FDIC”) and, therefore, complies with section 345(b) of the

Bankruptcy Code. To the best of the Debtor's knowledge, TD Bank is also a United States

Trustee authorized bank depository.

                               RELIEF REQUESTED HEREIN

               9.     By this application, the Debtor requests that the Court enter an order

authorizing the Debtor and the Management Company to maintain, service, and administer the

Bank Accounts, without interruption and in the ordinary course of business, in accordance with

the U.S. Trustee Guidelines.

               10.    Section 363(c)(1) of the Bankruptcy Code authorizes a debtor to “use

property of the estate in the ordinary course of business without notice or a hearing.” 11 U.S.C.§

363(c)(1). Thus, bankruptcy courts have routinely permitted chapter 11 debtors to continue to

use their existing cash management systems, generally treating requests for such relief as a

relatively “simple matter.” E.g., In re Baldwin-United Corp., 79 B.R. 321, 327 (Bankr. S.D.

Ohio 1987); see also In re Columbia Gas Sys., Inc., 136 B.R. at 934 (Bankr. D. Del. 1992), aff’d

in part and rev’d in part, 997 F.2d 1039 (3d Cir. 1993).

               11.    Here, the Management Agreement reduces expenses and exposure by

enabling the Management Company to limit the Debtor's liability from vendor disputes and

employee and client related obligations and claims.



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                12.     Post-petition adherence to the Management Agreement provides a

“business as usual” atmosphere, facilitates the Debtor's stabilization of its business operations,

and assists the Debtor in its efforts to reorganize and preserve value.

                13.     Conversely, aborting the Management Agreement and operating the

Williamsburg Hotel through the Debtor will disrupt relationships with vendors and other key

counterparties, all of whom are accustomed to working with the Management Company under

the Cash Management System. Furthermore, it will expose the Debtor to a range of potential new

liabilities related to the operation of the business. This includes executing new vendor and

employment contracts as well as event and sales agreements, thereby subjecting the Debtor and

the underlying real estate to all future obligations and liabilities thereof.

                14.     Under the Cash Management System, transfers are made between the

Debtor and Management Company Accounts that are necessary to fund operations of the Hotel

and the Management Company. The Debtor and the Management Company maintain, and will

continue to maintain, current records of all transfers and can readily ascertain, trace, and account

for all intercompany transactions. All Debtor and Management Company Bank Statements are

included as exhibits to the Debtor's monthly operating reports.

                15.     Annexed hereto as Exhibit B is the June operating report. The transfers

from Debtor account 0935 to the Management Company are highlighted on pages 16 to 32 in

blue. The transfers into Management Company accounts 1596, 1603 and 1611 are highlighted in

yellow. Each outgoing transfer from the Debtor account ending in 0935 has a corresponding

incoming transfer into one of the management company accounts ending in 1596, 1603 or 1611.




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If the Debtor discontinued the transfer of funds from the DIP Account to the Management

Company Disbursement, Payroll, and Sales Tax Reserve Accounts, the Cash Management

System and related administrative controls would be disrupted. The Debtor thus submits that the

continuation of the intercompany funding is in the best interests of the Debtor's estate and

creditors.

                                          CONCLUSION

               WHEREFORE, the Debtor respectfully requests that the Court enter an order

granting the relief sought herein, and granting such other, further and different relief as this

Court may deem just and proper.

Dated: New York, New York
       August 10, 2021


                                       BACKENROTH FRANKEL & KRINSKY, LLP
                                       Attorneys for Debtor


                                       By:     s/Mark Frankel
                                               800 Third Avenue
                                               New York, New York 10022
                                               (212) 593-1100




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